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           EXHIBIT “A”
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             PERSONAL INJURY MASTER SETTLEMENT AGREEMENT

        This Personal Injury Master Settlement Agreement (the “MSA”), dated May 9, 2024, is
between the undersigned counsel for Plaintiffs (“Plaintiffs’ Negotiating Counsel” or the “PNC”),
on the one hand, and Defendants Philips RS North America LLC (“Philips RS”), Koninklijke
Philips N.V., Philips North America LLC, Philips Holding USA, Inc., and Philips RS North
America Holding Corporation (collectively, the “Philips Defendants”), on the other. The Philips
Defendants and the PNC are each a “Party,” and, collectively, are the “Parties.”

       This MSA reflects the terms of a private settlement program (as defined below, the
“Program”) intended to resolve the claims or potential claims of all United States Citizens or
Residents who have a Qualifying Injury and who allege that they sustained such Qualifying Injury
from (i) use of one or more of the Recalled Devices, and/or (ii) any asserted defects, delays or
inadequacies relating to the Philips RS recall programs.

                                           RECITALS

      A.      Beginning on June 14, 2021, Philips RS announced recalls of certain CPAP, BIPAP
and ventilator products (the “Recalled Devices,” defined further below).

       B.      Individuals have asserted actual or potential Personal Injury Claims against the
Philips Defendants, including through the filing of lawsuits or other proceedings against the
Philips Defendants and also through joining the Census Registry. The Philips Defendants deny
any and all liability for all Personal Injury Claims.

      C.      The filed Personal Injury Claims have been centralized in, inter alia, the MDL
Court and the Massachusetts Court.

       D.      The Parties have concluded that, given the facts and circumstances of the Personal
Injury Claims, including the claims asserted and the legal and factual defenses thereto, it would
be in the Parties’ best interests to enter into this MSA to avoid the uncertainties, burdens and risks
of new and continued litigation. The Parties have further concluded that, based on, among other
things, the total number of persons who have asserted Personal Injury Claims and, separately, the
total number of persons with Personal Injury Claims that the Parties anticipate will participate in
the Program, the Program is fair, reasonable and adequate.

       E.       The Parties agree that this MSA and the Program are intended to resolve, in lieu of
further litigation, all Released Claims of all Eligible Claimants. For persons represented by
counsel, to be an Eligible Claimant, the person must have retained counsel on or before April 29,
2024. The Program is not available to persons represented by counsel where that representation
began after April 29, 2024.

       F.      Pursuant to Pretrial Order No. 8, the PNC were authorized by the MDL Court to
prosecute litigation relating to the Recalled Devices, including the negotiation of any potential
settlements. This MSA is a result of work performed and expenses incurred by the Court-
appointed plaintiffs’ leadership for the common benefit of Plaintiffs, including as a result of

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extensive negotiations between the Parties with the assistance of the Court-appointed mediator,
the Honorable Diane M. Welsh (Ret.) (the “Settlement Mediator”).

       G.       The Program is intended to resolve all claims or potential claims of Eligible
Claimants who allege any injury the undersigned counsel for Plaintiffs believe can be sustained.
Based on their assessment, the remaining injuries (i.e., Nonqualifying Injuries, which are not part
of the Settlement or the Program) will not be pursued going forward by the undersigned counsel
for Plaintiffs.

     H.      The Philips Defendants are paying no more than the consideration set forth in this
MSA (i.e., in the aggregate, $1.075 billion) to resolve all Released Claims of all Eligible
Claimants.

      I.       The Parties expressly agree and acknowledge that the Settlement and the Program
are available only to United States Citizens and Residents.

       J.      Nothing in the Settlement will be construed as evidence of, or as an admission by,
the Philips Defendants of any fault, liability, wrongdoing, causation, or damages whatsoever. The
Philips Defendants maintain that use of the Recalled Devices did not cause any injuries, including
any of the Qualifying Injuries. The Philips Defendants are not endorsing or agreeing to any
particular allocation methodology or injury value for any particular Qualifying Injury or Eligible
Claimant.

                                          ARTICLE 1
                                         DEFINITIONS

Cash and the $: Any reference in this MSA to “$” means U.S. dollars.

Census Registry means the Census Registry Program established by Pretrial Order Nos. 25 (ECF
739) and 25a (ECF 870).

Days mean calendar days, but if a deadline falls on a weekend or federal holiday, then the period
continues to run until the next day that is not a Saturday, Sunday, or federal holiday.

Deficient Claimant means any person who attempts to register for the Program but fails to provide
proof of a Qualifying Injury, proof of use of a Recalled Device, and/or proof that they are a United
States Citizen or Resident. The Settlement Administrator shall implement a process to allow time
for Deficient Claimants to rectify the deficiency(ies). Absent agreement of the Parties, the amount
of time for this deficiency cure process shall be no less than 45 days and not more than 90 days.
Deficient Claimants who timely rectify the deficiency(ies) are Eligible Claimants and Registered
Claimants. Deficient Claimants who do not timely rectify the deficiency(ies) are neither Eligible
Claimants nor Registered Claimants, and will be deemed Ineligible Claimants.

Disengaged Claimant means an Eligible Claimant listed on an Identification Order Declaration
with an unfiled claim who fails to submit a Registration Form by the Registration Deadline and is
identified by Primary Counsel on a Disengaged Claimant Declaration within 7 days after the
Registration Deadline.

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Disengaged Claimant Declaration means the declaration under penalty of perjury submitted by
Primary Counsel substantially in the form of Exhibit 1.

Eligible Claimant means a United States Citizen or Resident who, as of the applicable
Identification Order Declaration Deadline, alleges a Qualifying Injury caused by their use of one
or more Recalled Devices and/or any asserted defects, delays or inadequacies relating to the Philips
RS recall programs, and either (i) retained counsel on or before April 29, 2024 and is included on
an Identification Order Declaration alleging a Qualifying Injury by the applicable Identification
Order Declaration Deadline, or (ii) is a pro se plaintiff who has filed a Personal Injury Claim or
Claims in the MDL Court or Massachusetts Court alleging a Qualifying Injury or submits an
Identification Order Declaration alleging a Qualifying Injury by the applicable Identification Order
Declaration Deadline.

Ineligible Claimant means anyone who is not an Eligible Claimant. An Ineligible Claimant is
not entitled to participate in or receive any benefits under the Settlement or the Program unless
both Plaintiffs’ Negotiating Counsel and the Philips Defendants agree to deem that person an
Eligible Claimant (e.g., allowing for the untimely submission of an Identification Order
Declaration and/or an untimely submission of a Registration), in which case that person will be
considered an Eligible Claimant for all purposes.

Lienholders means all government program insurers that hold Liens.

Liens means liens or claims asserted under the Medicare Secondary Payer Act or the Medicare,
Medicaid, and SCHIP Extension Act related to a Registered Claimant’s Qualifying Injury and
payment pursuant to the Program.

Massachusetts Court means the Honorable Christopher K. Barry-Smith, or his successor, who
presides over the consolidated proceeding currently captioned St. John, Christine et al. v. Philips
North America, LLC et al., Docket No. 2281CV01788 (Massachusetts Middlesex County Super.
Ct., Woburn).

MDL Court means the Honorable Joy Flowers Conti, or her successor, who presides over In re
Philips Recalled CPAP, Bi-Level PAP, and Mechanical Ventilator Prods. Litig., MDL No. 3014
(W.D. Pa.) (the “MDL”).

Master Settlement Agreement or MSA: This Personal Injury Master Settlement Agreement
dated May 9, 2024 and all exhibits attached hereto.

Nonqualifying Injuries means any injury other than a Qualifying Injury.

Ozone Cleaning Companies means manufacturers of ozone-based cleaning devices for CPAP,
BiPAP, ventilator or other similar devices, as well as their former, present, and future owners,
shareholders, directors, officers, employees, attorneys, affiliates, parent companies, subsidiaries,
predecessors and successors, including, but not limited to, SoClean Inc. and DW Management
Services, LLC d/b/a DW Healthcare Partners.




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Personal Injury Claims means any and all actual or potential claims, demands, rights, remedies,
relief, actions, or causes of action, suits at law or in equity, whether sounding in tort, contract,
arising under statute, or otherwise, and whether asserted or unasserted, for personal or bodily
injuries, including for pecuniary, non-pecuniary, and punitive, statutory or other exemplary
damages or remedies of whatever kind or character for those personal or bodily injuries (including,
but not limited to, past, present or future lost wages, lost earning capacity, economic, property or
business losses, or medical costs or expenses, including for pain and suffering and mental or
emotional harm, and attorneys’ fees, costs and expenses, as well as derivative claims such as loss
of consortium or wrongful death) against the Philips Defendants or any other Released Party
relating to the Recalled Devices. Personal Injury Claims includes claims for Qualifying Injuries
and also Nonqualifying Injuries.

Plaintiffs’ Negotiating Counsel or PNC means the undersigned law firms for Plaintiffs that
comprise the law firms that participated in the negotiations of this MSA.

PolyTech Defendants means Polymer Technologies, Inc. and Polymer Molded Products LLC.

Primary Counsel means (1) for any Eligible Claimant with a Personal Injury Claim in the MDL,
or participating in the Census Registry, the lawyer or law firm listed as the registering Law Firm
in MDL Centrality; (2) for any Eligible Claimant with a Personal Injury Claim filed in state court,
counsel of record for the Eligible Claimant; or (3) for any Eligible Claimant with an unfiled
Personal Injury Claim and who is not participating in the Census Registry, counsel with an
engagement or retainer agreement with such Eligible Claimant. Counsel shall not be Primary
Counsel for an Eligible Claimant if counsel’s representation of that Eligible Claimant terminated
prior to the Identification Order Declaration Deadline.

Program means the Personal Injury Settlement Program to be set forth in this MSA.

Qualified Settlement Fund or QSF: The fund established pursuant to this MSA set up in
accordance with Section 468B(d)(2) of the Internal Revenue Code of 1986, as amended, and 26
CFR § 1.468B-1 1, et seq. of the Treasury Regulations.

Qualifying Injury means either a Qualifying Respiratory Injury or a Qualifying Cancer.

Qualifying Respiratory Injury means, as demonstrated through proof of diagnosis or treatment,
respiratory impairment (e.g., new or worsening asthma, new or worsening COPD, chronic
bronchitis, bronchiectasis, sarcoidosis, acute respiratory distress syndrome, reactive airways
dysfunction syndrome, pulmonary fibrosis, pneumonitis, other interstitial lung disease, other
obstructive or restrictive lung disease).

Qualifying Cancer means one of the following, as demonstrated through proof of diagnosis or
treatment: lung cancer; certain blood cancers (acute myeloid leukemia (AML), chronic myeloid
leukemia (CML), or mucosa associated lymphoid tissue (MALT) of the air-pathway lymphoid
tissue); or ENT/pathway cancers (e.g., oral cavity cancers; oropharynx cancer; nasal cavity/sinus
cancer; nasopharynx cancer; larynx cancer; hypopharynx cancer; salivary cancer; esophageal
cancers; thyroid cancers).


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Recalled Device(s) means the following CPAP, BiPAP and ventilator devices:
                    •   C-series S/T, AVAPS (C-series and C-series HT);
                    •   DreamStation ASV;
                    •   DreamStation BiPAP;
                    •   DreamStation CPAP;
                    •   DreamStation Go;
                    •   DreamStation ST, AVAPS;
                    •   E30;
                    •   OmniLab Advanced Plus;
                    •   System One 50 Series ASV4 (Auto SV4);
                    •   System One 50 Series Base;
                    •   System One 50 Series BiPAP;
                    •   System One 60 Series ASV4 (Auto SV4);
                    •   System One 60 Series Base;
                    •   System One 60 Series BiPAP;
                    •   Trilogy 100/200, Garbin Plus, Aeris LifeVent; and
                    •   V30 auto.

Registered Claimant means an Eligible Claimant who registers for the Program by the
Registration Deadline and provides proof that they are a United States Citizen or Resident, proof
of use of a Recalled Device, and proof of a Qualifying Injury. An Eligible Claimant who is not a
Registered Claimant is not entitled to participate in or receive any benefits under the Settlement or
the Program unless both Plaintiffs’ Negotiating Counsel and the Philips Defendants agree to deem
that person a Registered Claimant (e.g., allowing for the untimely submission of a Registration),
in which case that person will be considered a Registered Claimant for all purposes.

Registration Deadline means December 10, 2024; provided, however, that the Registration
Deadline may be extended by written agreement of the Parties.

Released Claims has the meaning set forth in the Release attached hereto as Exhibit 2.

Released Parties means any individual who, or entity that, is or could be responsible or liable in
any way whatsoever, whether directly or indirectly, for Released Claims. Without in any way
limiting the foregoing, the Released Parties include, without limitation, (1) the Philips Defendants,
(2) any of their past, present, or future parents, owners, predecessors, successors, subsidiaries,
divisions, affiliates/related entities, stockholders, officers, directors, board members, supervisors,
members, partners, managers, and employees, (3) any of their current, former or future suppliers,
agents, testing laboratories, attorneys, vendors, consultants, claim administrators, recall
administrators, contractors and subcontractors, including the PolyTech Defendants, (4) any and all
current, former or future distributors, sellers, insurers, reinsurers, resellers, lessors, retail dealers,
and DME providers for the Recalled Devices, (5) prescribing doctors, healthcare providers, and
healthcare practices with respect to the Recalled Devices, (6) any and all individuals and entities
indemnified by any other Released Party with respect to Released Claims, and (7) all of their
predecessors, successors, assigns, legatees, legal representatives, and any other stakeholders, as
well as all other persons acting by, through, or under them, including those who are, may be, or

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are alleged to be jointly or jointly and severally liable with them, or any of them. In addition,
Released Parties includes the Ozone Cleaning Companies. For the avoidance of doubt, nothing
herein precludes the Philips Defendants from pursuing contribution claims against the Ozone
Cleaning Companies.

United States Citizen or Resident means a person who currently is a United States citizen or
resident, or a current United States military, diplomatic personnel or employee living or stationed
overseas, or a person who succeeds to the rights or interests of such person (e.g., estate
representatives).

                                   ARTICLE 2
                      IDENTIFICATION OF ELIGIBLE CLAIMANTS

       Section 2.1 The Settlement is intended to resolve all Released Claims of all Eligible
Claimants. The purpose of the identification requirements set forth in this section is to identify
and create an initial list of the Eligible Claimants.

        Section 2.2    Identification Order

         2.2.1 Promptly after the execution of this MSA, the Parties agree to request that the MDL
Court and the Massachusetts Court enter Identification Orders requiring, within 30 days of the
Orders (the “Identification Order Declaration Deadline”), (i) all counsel with clients in suit or on
the Census Registry to identify all Eligible Claimants (whether claims or potential claims with
respect to the Eligible Claimant client have been filed in suit, asserted on the Census Registry, or
otherwise) for which they are Primary Counsel, and (ii) pro se litigants to identify themselves if
they believe they suffered a Qualifying Injury caused by their use of one or more Recalled Devices
and/or any asserted defects, delays or inadequacies relating to the Philips RS recall programs (the
“Identification Order Declarations”).

        2.2.2 The Identification Orders shall be substantially in the form of Exhibit 3.

         2.2.3 The Identification Orders shall require each Primary Counsel to take any and all
steps necessary to identify all Eligible Claimants they represent or claim to represent (whether
claims or potential claims with respect to the Eligible Claimant client have been filed in suit,
asserted on the Census Registry, or otherwise), and submit to the Settlement Administrator an
Identification Order Declaration under penalty of perjury that identifies all Eligible Claimants
represented by that Primary Counsel and affirms under penalty of perjury that the Identification
Order Declaration includes all of Primary Counsel’s Eligible Claimant clients.

         2.2.4 Identification Order Declarations may also be submitted by counsel who do not
have clients in suit or on the Census Registry. The filing of suit and/or enrollment in the Census
Registry is not a condition to participating in the Program.

        2.2.5 Promptly upon the execution of the MSA, (i) the Parties will jointly request that the
MDL Court enter an Identification Order substantially in the form of Exhibit 3, (ii) the Philips
Defendants will request that the MDL Court enter a Docket Management Order substantially in
the form of Exhibit 4, which the PNC will not oppose, and (iii) the Philips Defendants will request

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that the Massachusetts Court enter both an Identification Order and a Docket Management Order
in substantially the same form, which the PNC will not oppose.

         2.2.6 The Philips Defendants shall have the option, in their sole discretion, to terminate
the Settlement if either the Identification Order or the Docket Management Order are not entered
by the MDL Court. This option shall expire 30 days after the MSA is signed, although the Parties
can agree on a reasonable extension if the entry of those orders is then still under consideration by
the MDL Court.

        Section 2.3 For each filed case and potential claim that had been on the Census Registry,
there must be a single designation of a Primary Counsel. Primary Counsel must identify clients
by serving a list of all Eligible Claimant clients (whether in suit, on the Census Registry or
otherwise) for which such counsel is Primary Counsel as of the date of the designation.

        Section 2.4 If any law firm fails to submit an Identification Order Declaration by the
applicable Identification Order Declaration Deadline, Plaintiffs’ Negotiating Counsel agrees to
invoke the full scope of their rights under the Attorney Participation Agreement, including
enforcing the Attorney Participation Agreement in the MDL Court by requiring that the
noncompliant law firm(s) provide a list of their clients and imposing the full extent of sanctions
permitted under the Attorney Participation Agreement.

         Section 2.5 Any person who, as of the applicable Identification Order Declaration
Deadline, is not included on an Identification Order Declaration, or (for pro se plaintiffs only) who
has not filed a Personal Injury Claim or Claims in the MDL Court or the Massachusetts Court
alleging a Qualifying Injury, shall be deemed an Ineligible Claimant. An Ineligible Claimant is
not entitled to participate in or receive any benefits under the Settlement or the Program unless
both Plaintiffs’ Negotiating Counsel and the Philips Defendants agree to deem that person an
Eligible Claimant (e.g., allowing for the untimely submission of an Identification Order
Declaration), in which case that person will be considered an Eligible Claimant for all purposes.

        Section 2.6 Within 14 days after the submission of Identification Order Declarations,
and in consultation with the Parties, the Settlement Administrator shall provide the Parties with a
de-duplicated list of Eligible Claimants (the “Identification Order Report”).

          Section 2.7 The Parties may challenge the contents of the Identification Order Report,
including that such report either includes claimants who are not Eligible Claimants or fails to
include Eligible Claimants or both. A challenge pursuant to this Section shall be made in writing
to the Settlement Administrator and served on the other Parties within 14 days of the issuance of
the Identification Order Report. Any Party that opposes the challenge may submit a written
response within 10 days of such challenge. The Settlement Special Master shall review any such
challenge and issue a determination, which may include amending the Identification Order Report,
within 10 days of such response. The determination by the Settlement Special Master shall be
final, binding and not subject to any right to further review by any party or court. The Parties may
agree in writing on reasonable extensions of these deadlines.

        Section 2.8 The Philips Defendants will be terminating the Census Registry on or
around the date of this MSA. The Philips Defendants agree to the tolling of any and all time

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limitations for filing or pursuing a Personal Injury Claim for all claimants included on the
Identification Order Report, to the extent such time limitations have not already expired as of the
date of this MSA, for the time period from the date of this MSA until 14 days after the expiration
of the Philips Defendants’ Termination Rights. The tolling of limitations is not intended to, and
shall not for any purposes be deemed to, limit or adversely affect any defense, other than a
limitations defense, the Philips Defendants may have or would have had in the absence of this
tolling. Further, this tolling does not have any impact on any tolling provided under the Prior
Tolling Agreement or the Census Registry Program.

                             ARTICLE 3
      REGISTRATION AND IDENTIFICATION OF REGISTERED CLAIMANTS

        Section 3.1 All Eligible Claimants who appear on the Identification Order Report will
have an opportunity to Register for the Program, and thereby become a Registered Claimant.

       Section 3.2 To access the benefits of the Program, Eligible Claimants must complete
and submit to the Settlement Administrator a Registration Form electing to participate in the
Program, including all required signatures and attachments.

      Section 3.3 The deadline for Registration shall be the Registration Deadline, which is
December 10, 2024.

         Section 3.4 Eligible Claimants who comply with and complete the Registration Form
and elect to participate in the Program become Registered Claimants. For the avoidance of doubt,
only Eligible Claimants may become Registered Claimants, and inclusion on the Identification
Order Report does not guarantee eligibility to become a Registered Claimant. Conversely, Eligible
Claimants not included on the Identification Order Report may become Registered Claimants only
by agreement of the Parties (e.g., allowing for the untimely submission of an Identification Order
Declaration) pursuant to Section 2.5 or determination by the Settlement Special Master pursuant
to Section 2.7.

         Section 3.5 For purposes of completing a Registration Form, a beneficiary, recognized
under state law, of the deceased Eligible Claimant may initially execute the Registration Form. In
the event that the allocation to the deceased Eligible Claimant is $75,000 or more, the Release
shall not be effective until executed by a representative for the deceased Eligible Claimant
appointed in accordance with applicable state law. For any deceased Eligible Claimant who will
receive less than $75,000, the Release shall be effective if signed by all beneficiaries identified in
a family settlement affidavit or the representative satisfies the small estate administration rules
consistent with applicable state law. For the avoidance of doubt, no claimant shall be paid until a
valid and effective Release has been completed and signed.

         Section 3.6 The Registration Form, which shall be mutually agreed on by the Parties,
shall provide information to Eligible Claimants about the benefits of the Settlement and the
consequences of failing to register. The Registration Form and accompanying materials may be
revised by agreement of the Parties. The Registration Form shall require each Eligible Claimant
electing to participate in the Settlement to submit to the Settlement Administrator:


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       3.6.1 Identifying information about the Eligible Claimant and the Eligible Claimant’s
       counsel, if any.

       3.6.2 An election as to whether the Eligible Claimant wishes to participate in the
       Program; and if so elected, such information as is necessary to participate in the Program,
       including proof the Eligible Claimant is a United States Citizen or Resident, proof of a
       Qualifying Injury, and proof of use of a Recalled Device (which may include, among other
       things, information from Care Orchestrator, registrations as part of the Philips RS recall
       programs, and enrollments and claims submitted as part of the economic loss class action
       settlement); the Philips Defendants will reasonably cooperate with the Settlement
       Administrator and the PNC to make such data available as part of the Program.

       3.6.3 A full and complete release of all Released Claims against the Released Parties, a
       sworn representation that the person has the authority to release such claims and has not
       sold or otherwise transferred such claims, and an indemnification against the matters set
       forth in the Release and Indemnification section below, in the form attached as Exhibit 2.

       3.6.4 If the Eligible Claimant has filed a Released Claim or Claims in a court or other
       tribunal, a dismissal with prejudice of the Released Claim or Claims. Such dismissal shall
       only be filed in the appropriate court or other tribunal after the Philips Defendants’
       Termination Rights have expired.

       3.6.5 Evidence of representative capacity (if applicable). The Settlement Administrator
       will adopt a procedure specifying the proof required of the authority of an Eligible
       Claimant to act on behalf of a deceased or incapacitated or legally incompetent user or
       user’s estate, where required by this Agreement. For purposes of completing a Registration
       Form, a beneficiary, recognized under state law, of the deceased Eligible Claimant may
       initially execute the Registration Form.

       3.6.6 The Settlement Administrator may request additional information or communicate
       with Primary Counsel and Eligible Claimants in conjunction with Primary Counsel, or pro
       se Eligible Claimants, concerning any questions that may arise in this process and/or to
       request additional information or documentation from any Eligible Claimant. The
       Settlement Administrator may respond to Eligible Claimants who contact the Settlement
       Administrator directly.

        Section 3.7 A person who attempts to register for the Program but fails to provide proof
of a Qualifying Injury, proof of use of a Recalled Device, and/or proof that they are a United States
Citizen or Resident will be deemed a Deficient Claimant. The Settlement Administrator shall
implement a process to allow time for Deficient Claimants to rectify the deficiency(ies). Absent
agreement of the Parties, the amount of time for this deficiency cure process shall be no less than
45 days and not more than 90 days. Deficient Claimants who timely rectify the deficiency(ies) are
Eligible Claimants and Registered Claimants. Deficient Claimants who do not timely rectify the
deficiency(ies) are neither Eligible Claimants nor Registered Claimants, and will be deemed
Ineligible Claimants, and will have their Registration Form and accompanying materials returned
by the Settlement Administrator and will not be bound by the Program.


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        Section 3.8 For all Registered Claimants with filed complaints (or similar pleadings), a
stipulated dismissal with prejudice shall be filed in the appropriate court or tribunal after the Philips
Defendants’ Termination Rights have expired and consistent with Section 4.3.

        Section 3.9 No Punitive Damages. By completing a Registration Form that elects to
participate in the Program and submitting a Release, each Registered Claimant waives the right to
receive any punitive damages arising out of or related to any Released Claim, and each Registered
Claimant understands and agrees that no amount paid pursuant to the Program is, or shall deemed
to be, attributable to punitive damages.

        Section 3.10 No Withdrawal of Registration Forms. Submission of a Registration
Form electing to participate in the Program is irrevocable. No Registered Claimant may under any
circumstances or reason withdraw a Registration Form or accompanying materials, request the
return of his/her Release or dismissal with prejudice, or otherwise withdraw from the Program
regardless of the amount of any non-zero final award from the Program. Any purported withdrawal
of a Registration Form or accompanying materials is not effective unless by the written agreement
of all Parties.

        Section 3.11 Failure to Register. Eligible Claimants who do not register by the
Registration Deadline shall not be eligible to participate in the Program unless the Parties jointly
agree to waive this requirement on a case-by-case basis.

        Section 3.12 Disengagement from Eligible Claimants Who Cannot Be Located or
Reached. Within 7 days after the Registration Deadline, to the extent applicable, Primary Counsel
shall submit a Disengaged Claimant Declaration, in the form of Exhibit 1, to the Settlement
Administrator and the Philips Defendants, listing all their Eligible Claimant clients Primary
Counsel was unable to contact prior to the Registration Deadline, despite repeated good faith
attempts to do so. Pursuant to that Declaration, Primary Counsel will affirm that they have
disengaged with and ceased all representation of any Disengaged Claimants.

                                      ARTICLE 4
                             RELEASE AND INDEMNIFICATION

         Section 4.1 Each Registered Claimant shall fully and forever release all Released
Parties from and against all Released Claims. Each Registered Claimant shall fully indemnify and
hold harmless the Released Parties from any and all claims by Lienholders. The Release shall be
in the form of Exhibit 2.

         Section 4.2 Each Registered Claimant shall acknowledge and warrant that the
Registered Claimant is solely liable for the payment of taxes and/or liens, if any, associated with
the Settlement, the Program and the releases, and that all present and future liens that arise out of
or as a result of the Registered Claimant’s claims or their settlement and release (including, but
not limited to, any Medicare or Medicaid liens, liens by any governmental entity, other entity or
insurer, workers’ compensation liens, employer ERISA plan liens, Social Security liens, hospital,
physician, health care provider or attorney liens) are the Registered Claimant’s sole and exclusive
responsibility.


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         Section 4.3 The releases, indemnities, and dismissals with prejudice provided as part of
the Registration process shall be held in escrow by the Settlement Administrator, until after the
Philips Defendants’ Termination Rights have expired. The Philips Defendants shall have access
to such releases, indemnities, and dismissals with prejudice and may review them at any time. If
the Philips Defendants do not exercise any of their Termination Rights, such releases, indemnities,
and dismissals with prejudice shall be provided to them, and the dismissals with prejudice shall be
filed.

                                     ARTICLE 5
                          PARTICIPATION AND TERMINATION

        Section 5.1 Participation Level. The Participation Level is the percentage of Eligible
Claimants who become Registered Claimants. The Participation Level shall be equal to (Number
of Registered Claimants + Number of Eligible Claimants who do not become Registered Claimants
but whose claims are dismissed with prejudice) / (Number of Eligible Claimants – Number of
Disengaged Claimants) * 100.

Deficient Claimants and Ineligible Claimants are neither Eligible Claimants nor Registered
Claimants and are not included as part of the Participation Level calculation.

Any Registration submissions that are materially incorrect or fraudulent will not be considered in
the Participation Level calculations.

Eligible Claimants who are unable to execute a release as a result of bankruptcy or death shall
count as Registered Claimants if:

       a. In the event of death, Primary Counsel asserts the Eligible Claimant’s intention to
       participate in the Program, but is awaiting authorization to execute the Release; or

       b. In the event of a bankruptcy, Primary Counsel confirms its good faith belief that the
       Personal Injury Claim is property of the bankruptcy estate and provides evidence of an
       active bankruptcy during the pendency of such claimant’s litigation against the Released
       Parties.

         Section 5.2 The Settlement Administrator shall report the Participation Level 14 days
after the Registration Deadline, subject to the Parties’ mutual agreement to an extension for the
Settlement Administrator to do so.

         Section 5.3 Minimum Participation Level. The Philips Defendants shall have the
option, in their sole discretion, to terminate the Settlement if the following Participation Level
threshold is not met (a “Termination Right”):

               Overall Participation Level. 95% of Eligible Claimants become Registered
Claimants per the formula in Section 5.1.

         Section 5.4 Either Party may challenge the Settlement Administrator’s calculation of
the Participation Level within 14 days of being provided notice of the Participation Level. Within
10 days of such challenge, any Party opposing such challenge may submit a written response. The

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Settlement Special Master shall review any such challenge and issue a determination within 10
days of such response. The determination by the Settlement Special Master shall be final, binding,
and not subject to any right to further review by any Party or court. The Parties may agree in
writing on reasonable extensions of these deadlines.

         Section 5.5 The Philips Defendants’ Termination Rights shall expire 14 days after the
Participation Level is finalized, either 14 days after the Settlement Administrator calculates and
communicates to the Philips Defendants the Participation Level thresholds, or in the event of a
challenge to the Participation Level pursuant to Section 5.4, 14 days after the resolution of that
challenge process, whichever is later.

         Section 5.6 If the Program is terminated or otherwise not effectuated, then: (1) the
documents executed as part of Registration are null and void; (2) any releases and indemnities will
be rescinded and will have no effect; and (3) any dismissals provided as part of the Registration
process will not be filed with the applicable court and will be returned by the Settlement
Administrator to the Primary Counsel or pro se claimant who submitted them. None of the Parties’
claims and defenses in litigation will be prejudiced by entering the MSA under these
circumstances.

                                      ARTICLE 6
                              ADMINISTRATORS AND ROLES

        Section 6.1 Administration. This is a private agreement. Each Party, and, by inclusion
on an Identification Order Declaration and/or submission of a Registration Form, each Eligible
Claimant and all counsel for each such Eligible Claimant, agree that authority over the process
contemplated by the Program, including any Eligible Claimants registering under the Program,
resides with the Parties and those persons appointed by the MDL Court pursuant to this MSA to
exercise that authority, as such authority is specified in this MSA.

         Section 6.2 The administration of this MSA requires a Settlement Special Master, a
Settlement Administrator, and an Allocation Special Master. Other administrators may be
appointed to assist in implementing the Program, at the discretion of the Parties. All of the costs
and expenses of claims and other administration for the Program will be paid for out of the
Settlement Fund, including all costs and expenses incurred by the Settlement Administrator, the
Settlement Special Master, the Allocation Special Master, and any other administrators, as well as
all costs and expenses incurred for purposes of lien resolution. The Philips Defendants shall not
be responsible for any costs or expenses beyond their payments into the Settlement Fund, as
described in Article 9 below.

         Section 6.3 The Settlement Administrator shall be BrownGreer, PLC. Subject to the
approval of the Parties, some or all of the duties enumerated below may be modified as needed to
ensure the efficient operation of this Settlement, to minimize expense, and/or to mitigate any risks
to the corpus of the settlement funds. The Settlement Administrator shall be charged with the
following primary administrative responsibilities conforming to the MSA and the execution of this
Program: claims administrator; and administrator of the 26 C.F.R. § 1.468B-1 Qualified
Settlement Fund (“QSF”). The following subsection lists the enumerated duties and
responsibilities of the Settlement Administrator but is not intended to be an exhaustive list of

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obligations. The Parties agree that the Settlement Administrator shall perform the following duties
to effect the Parties’ negotiated Program.

                6.3.1 The Settlement Administrator shall be responsible for coordination with and
implementation of any Program design, allocation methodology, and settlement document(s)
requirements of the Parties. By way of example, this may include coordination and data
administration; implementation, application, and generation of Registered Claimant’s settlement
offer vis-à-vis the Allocation Special Master methodology; and building and transmitting a
Settlement disclosure packet to Eligible Claimants, among other tasks. The Settlement
Administrator shall work collaboratively with the Allocation Special Master to create and
distribute a Program disclosure packet to Eligible Claimants, and on reviewing, and coordinating
review of, the information submitted by Eligible Claimants, including as part of the allocation
methodology.

               6.3.2 The Settlement Administrator shall be responsible for all data
administration related to the Program. This shall include performing eligibility determinations and
qualifying Eligible Claimants for participation in the Program consistent with this Agreement. The
Settlement Administrator shall review all Eligible Claimant submissions and supporting records.
The Settlement Administrator shall certify the proper execution of compulsory documents in the
Settlement disclosure packet per the Parties’ requirements herein, including the release and
stipulated dismissals with prejudice, and coordinate with the Philips Defendants for verification of
same.

              6.3.3 The Settlement Administrator shall work with the Parties to design and
implement fraud protection measures, including to identify and reject fraudulent claims for awards
from the Program.

                 6.3.4 The Settlement Administrator in consultation and coordination with the
Parties shall prepare all motions, proposed court order(s), and documents needed to establish and
administer the QSF in accordance with this MSA and court order(s), and distribute funds from the
QSF to law firms and Registered Claimants in accordance with the Program. The Settlement
Administrator shall obtain a Federal Taxpayer Identification Number (TIN) and open custodial
bank account(s).

        Section 6.4 The Settlement Administrator shall report to the Parties on a periodic basis
concerning all aspects of implementation of this MSA and the Program.

        Section 6.5    Tax Management of QSF by Settlement Administrator.

                6.5.1. To the fullest extent allowable under applicable law, the Qualified
Settlement Fund shall be treated as being at all times a “qualified settlement fund” within the
meaning of Treasury Regulation §1.468B-1 et seq. The Settlement Administrator and, as required,
the Parties, shall timely make such elections as are necessary or advisable to carry out the
provisions of this Section, including the “relation-back election” as defined in Treasury Regulation
§1.468B-1, back to the earliest permitted date. Such elections shall be made in compliance with
the procedures and requirements contained in such regulation. It shall be the sole responsibility
of the Settlement Administrator to timely and properly prepare and deliver the necessary

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documentation for signature by all necessary parties, and thereafter to cause the appropriate filing
to occur.

               6.5.2 Custodial Bank shall mean Huntington Bank, which will enter into an
agreement to carry out the tasks more fully detailed in that agreement, including to receive, hold,
invest, and disburse funds and pay reasonable administrative expenses pursuant to the Program.
Upon mutual agreement, the Parties may replace Huntington Bank with another financial
institution.

                6.5.3 Tax Returns. For the purpose of Section 468B of the Internal Revenue
Code, the “administrator” shall be the Settlement Administrator. The Settlement Administrator
shall timely and properly provide all informational and other tax returns necessary or advisable
with respect to the QSF and the amounts held in the Qualified Settlement Fund including the
returns described in Treasury Regulation §1.468B-2(k)(l). Such returns (as well as the election
described in Section 468B) shall be consistent with Section 468B and in all events shall reflect that
all taxes (including any estimated taxes, interest or penalties, or tax detriments) on the income
earned by the Qualified Settlement Fund shall be paid exclusively out of the Qualified Settlement
Fund, in accordance with Section 468B.

                6.5.4 The Parties agree to cooperate with the Settlement Administrator, each
other, and their tax attorneys and accountants to the extent reasonably necessary to carry out the
provisions of this Section. The Settlement Administrator shall be empowered to take all such
actions, including such actions as may be inconsistent with those expressly set forth in this Article
6, as deemed necessary to ensure that the Trust is treated as a “Qualified Settlement Fund” under
Section 468B of the Internal Revenue Code and the Regulations promulgated pursuant thereto.
The overarching purpose of the Qualified Settlement Fund is to be at all times in compliance with
Internal Revenue Code Section 468B and all administrative authority and announcements
thereunder.

        Section 6.6    The Settlement Special Master shall be Judge Diane M. Welsh (ret.).

                6.6.1 The Settlement Special Master may decide any disputes regarding the MSA,
or arising out of its or the Program’s implementation, on agreement of the Parties.

         Section 6.7 The Allocation Special Master shall be Matt Garretson. The Allocation
Special Master shall create an allocation methodology to calculate the settlement offer for each
Eligible Claimant (which shall be a non-zero amount for each Eligible Claimant), including an
allocation methodology and process for reviewing and determining any extraordinary injury fund
(“EIF”) application. The Allocation Special Master shall work with the Settlement Administrator
to create and distribute a Settlement disclosure packet to Eligible Claimants, and on reviewing,
and coordinating review of, the information submitted by Eligible Claimants as part of the
allocation methodology. The responsibility to create the allocation methodology resides with the
Allocation Special Master, but the Allocation Special Master may consult with the Parties as part
of that process. In entering into this Settlement, the Philips Defendants are not endorsing or
agreeing to any particular allocation methodology or injury value for any particular Eligible
Claimant or alleged injury. The Philips Defendants are not responsible for the allocation
methodology determined by the Allocation Special Master.

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                                  ARTICLE 7
                  GOOD FAITH PARTICIPATION AND OBLIGATIONS
                     OF COUNSEL FOR ELIGIBLE CLAIMANTS

        Section 7.1 By the submission of a Registration Form, Eligible Claimants and their
counsel agree to abide by any Orders entered by the MDL Court and/or the Massachusetts Court,
as applicable, in furtherance of the Settlement, including the Identification Orders and Docket
Management Orders.

         Section 7.2 Counsel for Eligible Claimants must act in good faith with respect to
participation or nonparticipation in the Program by their clients. By the submission of a
Registration Form for one of their Eligible Claimants, counsel for Eligible Claimants represent
and warrant that they will use their best efforts to secure all documentation required for timely
Registration and compliance with the Program, including releases, indemnities and, where
applicable, dismissals with prejudice, from all of their clients who elect to register in the Program
and to otherwise effectuate the terms of the Program and, subject to the exercise of their
independent professional judgment as to the circumstances of individual clients, they will endorse
Registration in the Program to their Eligible Claimant clients.

         Section 7.3 By the submission of a Registration Form for one of their Eligible
Claimants, counsel for Eligible Claimants affirm that they are not actively advertising for,
soliciting, seeking, or taking steps to obtain new clients to assert Personal Injury Claims against
one or more of the Released Parties, and have no present intent to do so in the future.

        Section 7.4 Each counsel is expected to exercise his or her independent judgment in the
best interest of each client. The Parties agree that a central objective of the Program is that, with
respect to any counsel for a Registered Claimant, all other Eligible Claimants represented by such
counsel will also be Registered Claimants. While nothing in this Program is intended to operate
as a “restriction” on the right of any person’s counsel to practice law within the meaning of Rule
5.6(b) of the ABA Model Rules of Professional Conduct (or its equivalent) in any jurisdictions in
which such counsel practices or whose rules may otherwise apply, it is agreed that: (1) by the
submission of a Registration Form for one of their Eligible Claimants, counsel is representing that
they have reviewed the Program, are able to represent that this Program is in the best interest of
Eligible Claimants, and have recommended, or will recommend, to 100% of their Eligible
Claimant clients that they complete a Registration Form for the Program; and (2) if any such
Eligible Claimant disregards such recommendation, or for any other reason chooses not to
participate in the Program, such counsel shall, to the extent permitted by Rules 1.16 and 5.6 of the
ABA Model Rules of Professional Conduct (or their equivalent) in the relevant jurisdiction(s), take
(or have taken, as the case may be) all necessary steps to disengage and withdraw from the
representation of such Eligible Claimant, forego any fee interest in such Eligible Claimant, and
seek to withdraw (subject to court approval, if applicable) from the representation of such Eligible
Claimant.

       Section 7.5 By the submission of a Registration Form for one of their Eligible
Claimants, counsel for Eligible Claimants also agree: (1) to abide by MDL Pretrial Order No. 24
(ECF 717) (“Common Benefit Assessment Order”) and permit the payment of the specified
common benefit assessment percentage of the Gross Monetary Recovery of any final award, as

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defined in the Common Benefit Assessment Order, to the Common Benefit Fund, as described
further in Section 10.2; (2) to comply with any Orders entered by the MDL Court in furtherance
of Revised Pretrial Order No. 13 (ECF 586) and Pretrial Order No. 24; (3) to consent to the
jurisdiction of the MDL Court; (4) that the Program is a result of work performed and expenses
incurred by the Court-appointed plaintiffs’ leadership for the common benefit of Plaintiffs; and
(5) to be bound by the Court’s determination on common benefit attorney fee awards, attorney fee
allocations, and expense awards, and knowingly and expressly waive any right to appeal those
decisions or the ability to assert the lack of enforceability of the Court’s Orders or to otherwise
challenge their adequacy. This MSA and the Program shall not alter any contractual obligation
between lawyers and their clients regarding attorneys’ fees.


                                    ARTICLE 8
                         LIEN RESOLUTION RESPONSIBILITIES

        Section 8.1 The Parties intend that the Settlement Fund shall fulfill and address all of
the Philips Defendants’ responsibilities with respect to the Released Claims of Registered
Claimants, and that the Philips Defendants shall have no obligations or responsibilities with respect
to Lienholders or other third parties claiming to have a right of recovery related to such Released
Claims.

         Section 8.2 Plaintiffs’ Negotiating Counsel will select a Lien Administrator to assist
with resolution of Liens. The Lien Administrator shall be responsible for the negotiation and
resolution of Liens asserted by Lienholders, and such other duties as Plaintiffs’ Negotiating
Counsel and the Lien Administrator so agree. If the Lien Administrator is unable to negotiate the
resolution of Liens asserted by Lienholders against Registered Claimants, the Registered
Claimants (not the Philips Defendants) shall be responsible for the negotiation and resolution of
such Liens.

        Section 8.3 If the Lien Administrator and Plaintiffs’ Negotiating Counsel agree that
Lien Administrator has attained a satisfactory repayment amount with respect to a Registered
Claimant, the Lien Administrator shall: (i) satisfy such repayment amount out of any monetary
award to such Registered Claimant; and (ii) provide that reasonable compensation of the Lien
Administrator for such efforts will be paid out of the monetary award to such Registered Claimant.

        If the Lien Administrator and Plaintiffs’ Negotiating Counsel agree that the Lien
Administrator has exhausted administrative efforts with any Lienholder to resolve groups of Liens
globally, the Lien Administrator shall put in place a mechanism for resolving these Liens on an
individual basis by each individual Registered Claimant. In all events, the responsibility to
negotiate and resolve the Liens shall fall on the Registered Claimant, not the Philips Defendants.

       Section 8.4 Nothing herein is intended to, nor should be construed as, creating a right
of reimbursement for lienholders of obligations upon Registered Claimants or Registered
Claimants’ Counsel where none would otherwise exist under applicable state or federal law.

        Section 8.5 All costs and expenses for use of the Lien Administrator shall be paid by
the Registered Claimant. The Philips Defendants shall not be responsible for any of the costs or

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expenses associated with the Lien Administrator beyond their two payments into the Settlement
Fund, as described in Article 9 below.

                                         ARTICLE 9
                                     SETTLEMENT FUND

        Section 9.1 Administrative Expenses. Within 14 days of the execution of this MSA,
the Philips Defendants shall pay $25 million into the Settlement Fund to fund initial administrative
costs and expenses connected with the Program. Such payment is irrevocable and shall not be
returned to the Philips Defendants in the event that they exercise a Termination Right. The Philips
Defendants shall have no further funding obligation with respect to administrative expenses, even
if the administrative expenses exceed $25 million. Any administrative expenses that exceed $25
million will be paid for out of the Settlement Fund discussed below in Section 9.2.

         Section 9.2 Settlement Fund. On the later of January 6, 2025, or 14 days after the
expiration of the Philips Defendants’ Termination Rights, the Philips Defendants shall pay
$1,050,000,000 ($1.05 billion) into the Settlement Fund, which will be available to pay benefits to
Registered Claimants and any additional costs and expenses associated with the Program
(including relating to lien resolution, Program administration, etc.). The Philips Defendants shall
have no further funding obligation under the Settlement or the Program, including for any
attorneys’ fees, costs or expenses whatsoever.

        Section 9.2.1 In accordance with the terms of this MSA, the payments by the Philips
Defendants shall be deposited into the QSF. The payments by the Philips Defendants shall remain
the property of the QSF and will be held in a fiduciary capacity. Interest accrued shall be
distributed to Registered Claimants and/or to pay costs and expenses associated with the Program,
not to the Philips Defendants.

                                         ARTICLE 10
                                      ATTORNEYS’ FEES

       Section 10.1 Individual Counsel Attorneys’ Fees. This agreement does not alter any
contractual obligation between lawyers and clients regarding attorneys’ fees.

        Section 10.2 Common Benefit Fund. Work performed and expenses incurred for the
benefit of all claimants as defined more fully in the Revised Pretrial Order No. 13 (ECF 586) and
Pretrial Order No. 24 shall be paid from the Common Benefit Fund, created by an assessment of
the gross monetary recovery pursuant to those Orders. Payments are subject to procedures set in
place by the MDL Court now or in the future. In connection with any payments to or for the
benefit of Registered Claimants, the Settlement Administrator shall withhold and hold back on a
per-Registered-Claimant basis the Common Benefit Assessment as set forth in the MDL Court’s
Orders in place now or in the future implemented. The Settlement Administrator must provide
proof of compliance to the PNC and the MDL Court.




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                                         ARTICLE 11
                                       MISCELLANEOUS

         Section 11.1 No Party makes any representation regarding the tax consequences relating
to this Settlement or the Program. Eligible Claimants should consult with their own tax advisors.

        Section 11.2 This MSA is the product of arm’s-length negotiations between the Parties,
including mediations and negotiations between the Parties assisted by the Honorable Diane M.
Welsh (Ret.). No Party shall be deemed to be the drafter of this MSA or any provision thereof.
No presumption shall be deemed to exist in favor of or against any Party as a result of the
preparation or negotiation of this MSA.

         Section 11.3 This MSA shall be binding on the Parties regardless of any change in the
law that might occur after the date the Parties execute this MSA.

         Section 11.4 The terms of this MSA may not be modified or waived except in writing,
signed by the Parties hereto. The Parties hereby acknowledge that they have read this MSA and
had an opportunity to obtain the advice of competent counsel of their choosing regarding it. As
such, the Parties hereby also acknowledge that they understand the terms of this MSA, and that
they freely and voluntarily sign and enter into it. The waiver by any Party of any breach of this
MSA shall not be deemed or construed as a waiver of any other breach, whether prior to,
subsequent to, or contemporaneous with this MSA.

         Section 11.5 This Agreement shall be governed by and construed in accordance with the
laws of the Commonwealth of Pennsylvania, including all matters of construction, validity,
performance, and enforcement, and without giving effect to the principles of conflict of laws.
Other than as expressly set forth herein (e.g., disputes for the Settlement Special Master), any
disputes related to this MSA will be brought in the United States District Court for the Western
District of Pennsylvania (Conti, J.).

         Section 11.6 This MSA may be executed in counterparts and taken together shall
constitute one and the same MSA.

        Section 11.7 This MSA shall be binding on, and inure to the benefit of, the successors
and assigns of the Parties hereto. Nothing in this MSA, express or implied, is intended to confer
upon any person or entity other than the Parties hereto or their respective successors, heirs, issue,
and assigns, any rights or benefits under or by reason of this MSA. This MSA shall not be
assignable by any Party hereto without prior written consent of the other Party.

         Section 11.8 Electronic signatures shall be accepted for execution of any settlement
document required of Eligible Claimants or Eligible Claimants’ Counsel. The Parties will work
with the Settlement Administrator to ensure compliance with applicable standards and protections.

         Section 11.9 Neither this MSA, nor any exhibit, document, or instrument delivered
hereunder, nor any statement, transaction, or proceeding in connection with the negotiation,
execution, or implementation of this MSA or the Program, is intended to be or shall be construed
as or deemed to be evidence of an admission or concession by the Philips Defendants of any fault,
liability, wrongdoing, causation, or damages, or of the truth of any allegations asserted by any

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plaintiff or claimant against it, including by any Eligible Claimant, or as an admission by any
Eligible Claimant of any lack of merit in their Personal Injury Claim.

        No Party or claimant shall seek to introduce and/or offer the terms of this Settlement, any
statement, transaction, or proceeding in connection with the negotiation, execution, or
implementation of this Settlement, or any statements in the documents delivered in connection
with this Settlement, or otherwise rely on the terms of this Settlement, in any judicial proceeding,
except insofar as necessary to enforce the terms of this Settlement or the releases provided pursuant
to the Settlement, in connection with the determination of any income tax liability of a party, or in
relation to any instrument executed and delivered pursuant to this Settlement (including any
Registration Form and the executed attachments thereto). If a person seeks to introduce and/or
offer any of the matters described herein in any proceeding against the Philips Defendants or any
other Released Party, the restrictions of this section shall not be applicable to such Released Party
with respect to that person.

       Section 11.10 The Parties shall keep confidential, pursuant to mediation privileges and
confidentiality, the content of the negotiations, points of discussion, documents, communications,
and supporting data utilized or prepared in connection with the negotiations and settlement
discussions related to the MSA.

       Section 11.11 Nothing in this MSA shall be interpreted to require any Party, any Eligible
Claimant, or any counsel to engage in any conduct that is a violation of law and/or unethical under
applicable ethical rules.

IN WITNESS WHEREOF, the Parties have executed this Agreement as of the date first set forth
above.



 /s/ John P. Lavelle, Jr.                          /s/ Christopher A. Seeger
 John P. Lavelle, Jr.                              Christopher A. Seeger
 Lisa C. Dykstra                                   SEEGER WEISS LLP
 MORGAN, LEWIS & BOCKIUS LLP                       55 Challenger Road, 6th Floor
 2222 Market Street                                Ridgefield Park, NJ 07660
 Philadelphia, PA 19103-3007                       (973) 639-9100 (phone)
 (215) 963-5000 (phone)                            cseeger@seegerweiss.com
 john.lavelle@morganlewis.com
 lisa.dykstra@morganlewis.com                      /s/ Sandra L. Duggan
                                                   Sandra L. Duggan
 /s/ Wendy West Feinstein                          LEVIN SEDRAN & BERMAN LLP
 Wendy West Feinstein                              510 Walnut Street, Suite 500
 MORGAN, LEWIS & BOCKIUS LLP                       Philadelphia, PA 19106
 One Oxford Center, 32nd Floor                     (215) 592-1500 (phone)
 Pittsburgh, PA 15219-6401                         sduggan@lfsblaw.com
 (412) 560-3300 (phone)
 wendy.feinstein@morganlewis.com                   /s/ Steven A. Schwartz

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/s/ Erik T. Koons                                Steven A. Schwartz
Erik T. Koons                                    CHIMICLES SCHWARTZ KRINER &
BAKER BOTTS LLP                                  DONALDSON-SMITH LLP
700 K St. NW                                     361 West Lancaster Avenue
Washington, DC 20001                             Haverford, PA 19041
(202) 639-7973 (phone)                           (610) 642-8500 (phone)
erik.koons@bakerbotts.com                        steveschwartz@chimicles.com

/s/ Andrew T. George                             /s/ Kelly K. Iverson
Andrew T. George                                 Kelly K. Iverson
BOURELLY, GEORGE + BRODEY LLP                    LYNCH CARPENTER, LLP
1050 30th Street, NW                             1133 Penn Avenue, 5th Floor
Washington, DC 20007                             Pittsburgh, PA 15222
(202) 753-5012 (phone)                           (412) 322-9243 (phone)
andrew.george@bgblawyers.com                     kelly@lcllp.com

Counsel for Defendant Philips RS North
America LLC                                      /s/ Roberta D. Liebenberg
                                                 Roberta D. Liebenberg (Chair)
/s/ Michael H. Steinberg                         FINE, KAPLAN AND BLACK, R.P.C.
Michael H. Steinberg                             One South Broad Street, 23rd Floor
SULLIVAN & CROMWELL LLP                          Philadelphia, PA 19107
1888 Century Park East                           (215) 567-6565 (phone)
Los Angeles, CA 90067                            rliebenberg@finekaplan.com
(310) 712-6670 (phone)
steinbergm@sullcrom.com                          Plaintiffs’ Negotiating Counsel

/s/ William B. Monahan
Tracy Richelle High
William B. Monahan
SULLIVAN & CROMWELL LLP
125 Broad Street
New York, NY 10004
(212) 558-4000 (phone)
hight@sullcrom.com
monahanw@sullcrom.com
Counsel for Defendants Koninklijke Philips
N.V., Philips North America LLC, Philips
Holding USA Inc., and Philips RS North
America Holding Corporation




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            EXHIBIT “1”
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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA

 IN RE: PHILIPS RECALLED CPAP, BI-                 )        Master Docket: Misc. No. 21-1230
 LEVEL PAP, AND MECHANICAL                         )
 VENTILATOR PRODUCTS LIABILITY                     )        MDL No. 3014
 LITIGATION                                        )



                          DECLARATION OF DISENGAGEMENT

       In accordance with the Personal Injury Master Settlement Agreement (“MSA”), I,

_____________________,          on        behalf       of    myself    and       the   law     firm

______________________________ (collectively, “Counsel”), do hereby represent and certify to

the following under penalty of perjury:

       1.      Based on Counsel’s good-faith investigation, the individual(s) listed below (the

“Disengaged Claimants”) are Eligible Claimants within the meaning of the MSA, and Personal

Injury Claims on their behalf have not been filed.

       2.      As set forth below, Counsel has made repeated attempts to communicate, including

by each of electronic mail, regular mail and phone, with each of the Disengaged Claimants

regarding the MSA.

       3.      The Disengaged Claimants have failed to respond to any of those repeated

communications.

       4.      Counsel has taken any and all steps required by applicable law to disengage from

any further representation of Disengaged Claimants and to terminate any attorney-client

relationship between Counsel and the Disengaged Claimants.

       5.      Counsel agrees to submit to the jurisdiction of the U.S. District Court for the

Western District of Pennsylvania for any matters relating to this Declaration.
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       6.      Counsel represents and certifies that a true and correct copy of this Declaration has

been submitted to the Settlement Administrator and to the Philips Defendants pursuant to the terms

of the MSA.



     Claimant MDL-C Plaintiff            Claimant First Name              Claimant Last Name
         Identification No.




DATE:___________________                             /s/
                                                     [NAME OF ATTORNEY]
                                                     [NAME OF LAW FIRM]
                                                     [ADDRESS]
                                                     [ADDRESS]
                                                     [ADDRESS]
                                                     [TELEPHONE NUMBER]
                                                     [EMAIL ADDRESS]




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            EXHIBIT “2”
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                                            RELEASE

        I, the undersigned Releasor, have chosen to participate in the Philips Respironics PAP
Personal Injury Settlement Program set forth in the Personal Injury Master Settlement Agreement,
dated May 9, 2024. 1 I have received disclosures from my counsel, if applicable, or the Settlement
Administrator regarding the allocation of the Settlement Fund under the Program, and those
disclosures enable me to estimate my Individual Plaintiff Settlement Payment. I understand that
along with this Release, I am submitting a Registration Form to the Settlement Administrator. I
understand that the terms of the Settlement, the Program and this Release govern the resolution of
my Released Claims. I understand and agree that this Release shall become effective concurrent
with the Philips Defendants’ funding payment under the Settlement Agreement. I understand that
the Philips Defendants’ funding payment shall be held in trust for purposes of making payments
to Registered Claimants under the Program. I understand that at the time determined by the
Settlement Agreement, I or my counsel will execute a stipulated dismissal with prejudice
dismissing all pending Released Claims I have filed, if any. Once effective, this Release shall
release any and all Released Claims I and the other Releasing Parties have, or may have in the
future, whether known or unknown, against the Philips Defendants and the other Released Parties.

       Accordingly, in consideration for the Philips Defendants’ agreement to establish the
Program, the significant expenses being incurred by the Philips Defendants in connection with the
Program, and my Individual Plaintiff Settlement Payment, I hereby give and make the following
Release. This Release is also entered into by any Derivative Claimant who executes a signature
page hereto, in which case the agreement of such Derivative Claimant set forth on his, her or its
signature page is incorporated in, and is part of, this Release.

        By signing this Release, both I and any such Derivative Claimant understand and
acknowledge that although I have received disclosure documents regarding the allocation of the
Settlement Fund, which enables me to estimate my Individual Plaintiff Settlement Payment, there
is no assurance at this time as to the precise amount of such payment, and this fact shall in no way
affect the validity or effect of this Release.

Definitions:

         Derivative Claimant means any and all persons who have asserted or do assert the right
to sue any of the Released Parties related to the Released Claims by reason of their personal
relationship with me, and/or otherwise by, through or under, or otherwise in relation to, me,
whether their right to sue is independent, derivative, or otherwise. Derivative Claimants include,
but are not limited to, my parents, guardians, heirs, beneficiaries, surviving spouse (including, but
not limited to, a putative or common law spouse), surviving domestic partner and/or next of kin,
if any, solely in respect to Derivative Claims.




1
       Capitalized terms are either (i) defined below, or (ii) in the Personal Injury Master
Settlement Agreement. Capitalized terms that are used but not otherwise defined herein shall have
the meanings given such terms in the Personal Injury Master Settlement Agreement.
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       Derivative Claims means Released Claims against any of the Released Parties relating to
a Derivative Claimant’s personal relationship with me as it relates to the Released Claims, and/or
otherwise by, through or under, or otherwise in relation to, me.

      Individual Plaintiff Settlement Payment means any gross payment from the Settlement
Fund made to a Registered Claimant or Derivative Claimant pursuant to the Program.

        Law means a law, statute, ordinance, rule, regulation, case or other legal provision or
authority.

        Released Claims means any and all Personal Injury Claims, whether known or unknown,
suspected or unsuspected, accrued or unaccrued, concealed or hidden, past, present or future,
including for injuries not yet manifested and injuries or symptoms that develop further and/or are
later worsened or exacerbated, relating to a Recalled Device or the Philips RS recall programs,
including any alleged defects, delays or inadequacies relating to the Philips RS recall programs, as
well as any claims or relief for medical screening and/or medical monitoring, whether in the form
of monetary or non-monetary relief, including individual claims for monetary relief for medical
monitoring, except that Released Claims does not include Personal Injury Claims for a cancer that
is unknown to the Registered Claimant as of the Registration Deadline.

       Releasing Parties means (i) myself and (ii) any Derivative Claimant.

      Settlement Program means the Philips Respironics PAP Personal Injury Settlement
Program set forth in the Personal Injury Master Settlement Agreement.

        Releases: On my own behalf and on behalf of each other Releasing Party, I hereby
knowingly and voluntarily release, relinquish, and forever discharge the Released Parties from the
Released Claims. Further, on my own behalf and on behalf of each other Releasing Party, I hereby
release the Released Parties from responsibility or liability for the Program, the Settlement, and
the determination of any Individual Plaintiff Settlement Payment, or the associated allocation,
division or computation leading to that determination. This Release is not conditional on receipt
of any particular Individual Plaintiff Settlement Amount or allocation.

I acknowledge that I and/or any other Releasing Party may in the future learn of additional and/or
different facts relating to the Released Claims. I understand and acknowledge the significance and
consequences of releasing all of the Released Claims, whether known or unknown, and hereby (on
my own behalf and on behalf of each other Releasing Party) assume full risk and responsibility for
any and all such additional and/or different facts and any and all Released Claims that I (and/or
any other Releasing Party) may hereinafter incur or discover. To the extent that any law may at
any time purport to preserve my and/or any other Releasing Party’s right to hereafter assert any
such unknown and/or unanticipated Released Claim, I hereby (on my own behalf and on behalf of
each other Releasing Party) specifically and expressly waive (to the fullest extent permitted by
applicable Law) my and any other Releasing Party’s rights under such Law. I further acknowledge
having had an opportunity to obtain advice of counsel of my choosing regarding this waiver, and
having had the opportunity to discuss it with such counsel to my satisfaction.



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On my own behalf and on behalf of each other Releasing Party, I acknowledge and agree that the
releases set forth in this Release are irrevocable and unconditional, inure to the benefit of and may
be enforced by each Released Party, and are intended to be as broad as can possibly be created
with respect to the Released Claims.

WITHOUT LIMITATION OF THE FOREGOING, THIS RELEASE IS SPECIFICALLY
INTENDED TO OPERATE AND BE APPLICABLE EVEN IF IT IS ALLEGED,
CHARGED, OR PROVED THAT SOME OR ALL OF THE RELEASED CLAIMS ARE
CAUSED IN WHOLE OR IN PART BY THE NEGLIGENCE, NEGLIGENCE PER SE,
GROSS NEGLIGENCE, BREACH OF WARRANTY, FAILURE TO WARN,
VIOLATION OF LAW, DEFECTIVE PRODUCT, MALICE, AND/OR CONDUCT OF
ANY TYPE BY ANY OF THE PHILIPS DEFENDANTS, ANY OF THE OTHER
RELEASED PARTIES, AND/OR ANY OTHER PERSON.

Waiver of Statutory Rights:

I, on my own behalf and on behalf of each other Releasing Party, expressly waive and
relinquish, to the fullest extent permitted by law, the provisions, rights, and benefits of
California Civil Code Section 1542, or any other similar provision under federal or state law,
which provides:

A GENERAL RELEASE DOES NOT EXTEND TO CLAIMS THAT THE CREDITOR OR
RELEASING PARTY DOES NOT KNOW OR SUSPECT TO EXIST IN HIS OR HER
FAVOR AT THE TIME OF EXECUTING THE RELEASE AND THAT, IF KNOWN BY
HIM OR HER, WOULD HAVE MATERIALLY AFFECTED HIS OR HER
SETTLEMENT WITH THE DEBTOR OR RELEASED PARTY.

To the extent the provisions apply, the Releasing Parties likewise expressly, knowingly, and
voluntarily waive the provisions of Section 28-1-1602 of the Montana Code Annotated, which
provides:

A GENERAL RELEASE DOES NOT EXTEND TO CLAIMS THAT THE CREDITOR
DOES NOT KNOW OR SUSPECT TO EXIST IN THE CREDITOR’S FAVOR AT THE
TIME OF EXECUTING THE RELEASE, WHICH, IF KNOWN BY THE CREDITOR,
MUST HAVE MATERIALLY AFFECTED THE CREDITOR’S SETTLEMENT WITH
THE DEBTOR.

To the extent the provisions apply, I, on my own behalf and on behalf of each other Releasing
Party, likewise expressly, knowingly, and voluntarily waive the provisions of Section 9-13-02
of the North Dakota Century Code, which provides:

A GENERAL RELEASE DOES NOT EXTEND TO CLAIMS WHICH THE CREDITOR
DOES NOT KNOW OR SUSPECT TO EXIST IN THE CREDITOR’S FAVOR AT THE
TIME OF EXECUTING THE RELEASE, WHICH IF KNOWN BY THE CREDITOR,
MUST HAVE MATERIALLY AFFECTED THE CREDITOR’S SETTLEMENT WITH
THE DEBTOR.


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To the extent the provisions apply, I, on my own behalf and on behalf of each other Releasing
Party, likewise expressly, knowingly, and voluntarily waive the provisions of Section 20-7-11
of the South Dakota Codified Laws, which provides:

A GENERAL RELEASE DOES NOT EXTEND TO CLAIMS WHICH THE CREDITOR
DOES NOT KNOW OR SUSPECT TO EXIST IN HIS FAVOR AT THE TIME OF
EXECUTING THE RELEASE, WHICH IF KNOWN BY HIM MUST HAVE
MATERIALLY AFFECTED HIS SETTLEMENT WITH THE DEBTOR.

To the extent the laws apply, I, on my own behalf and on behalf of each other Releasing
Party, expressly waive and relinquish all rights and benefits that they may have under, or
that may be conferred upon them by, Section 1542 of the California Civil Code, Section 28-
1-1602 of the Montana Code Annotated, Section 9-13-02 of the North Dakota Century Code,
Section 20-7-11 of the South Dakota Codified Laws, and all similar laws of other States, to
the fullest extent that they may lawfully waive such rights or benefits pertaining to the
Released Claims .

In connection with such waiver and relinquishment, I, on my own behalf and on behalf of
each other Releasing Party, acknowledge that I am aware that I or my attorneys may
hereafter discover claims or facts in addition to or different from those that we now know or
believe to exist with respect to the Released Claims, but that it is my intention to accept and
assume that risk and fully, finally, and forever release, waive, compromise, settle, and
discharge all the Released Claims against the Released Parties. The Release thus shall
remain in effect notwithstanding the discovery or existence of any additional or different
claims or facts in the future.

No Withdrawal of Registration Form: I understand and agree that submission of a Registration
Form electing to participate in the Program is irrevocable and that I may not under any
circumstances or reason withdraw a Registration Form, request the return of my Release or
dismissal with prejudice, or otherwise withdraw from the Program regardless of the amount of any
Individual Plaintiff Settlement Payment from the Program.

Attorneys’ Fees; Division of Any Individual Plaintiff Settlement Payment: I understand that
the Released Parties are not responsible for any attorneys’ fees, costs or expenses I have incurred
or may at any time incur, including, but not limited to, in connection with entering into this Release
and any other documents. I understand that, with respect to any Individual Plaintiff Settlement
Payment, any dispute regarding the division of such Individual Plaintiff Settlement Payment
between me, any Derivative Claimant executing this Release, and our respective counsel (if any)
shall in no way affect the validity of this Release. I agree that in the event of any dispute regarding
fees, costs or expenses, the Released Parties shall not have any responsibility in connection with
such dispute.

Pursuit of Certain Claims: I agree that other than to enforce this Release, I will never (i) take
any legal or other action to initiate, pursue, maintain, or otherwise attempt to execute upon, collect,
or otherwise enforce, any of the Released Claims against any Released Party; (ii) institute or
participate in any new legal action against any Released Party to any extent, or in any way, arising

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out of, relating to, resulting from and/or connected with the Released Claims; or (iii) take any legal
or other action against any Released Party concerning the administration, settlement allocation,
Individual Plaintiff Settlement Payment, or any other aspect of the Program or the Settlement.

Indemnification for Claims by Lienholders: I hereby agree, jointly and severally with any
Derivative Claimant executing this Release, to indemnify and hold harmless each Released Party
from and against any and all claims by lienholders.

Pursuit of Certain Claims: Other than to participate in the Settlement, I agree that from and after
the date on which this Release is executed until the earlier of either (i) the date on which this
Release is delivered to the Philips Defendants, or (ii) I exit the Program and this Release is returned
to me, I shall be prohibited from, and refrain from, taking any action (including any legal action)
to initiate, pursue, maintain, or otherwise attempt to execute upon, collect or otherwise enforce,
any actual or alleged Released Claims against any of the Released Parties. I will also cooperate in
all reasonable respects with the Philips Defendants to seek to stay, and to continue in effect any
then outstanding stay with respect to, any pending legal proceedings instituted by me and/or
Derivative Claimants against any Released Party in connection with Released Claims, and I will
refrain from instituting any new legal action against any Released Party in connection with any
Released Claim. I will also be prohibited from and refrain from attempting to execute or collect
on, or otherwise enforce, any judgment that may be entered against any Released Party in
connection with any Released Claim.

Confidentiality: I agree to maintain in confidence, and shall not disclose to any person, the
amount of any Individual Plaintiff Settlement Payment, except as may be required by applicable
Law and to effectuate the Settlement; provided, that I understand that I may disclose such
information to my immediate family members and to my counsel, accountants and/or financial
advisors, if any (each of whom I shall, upon such disclosure, instruct to maintain and honor the
confidentiality of such information). I agree that if I breach this confidentiality provision, money
damages would not be a sufficient remedy and, accordingly, without limitation of any other
remedies that may be available at law or in equity, the Philips Defendants shall be entitled to
specific performance and injunctive or other equitable relief as remedies for such breach.

ACKNOWLEDGEMENT OF COMPREHENSION: I AM ENTERING INTO THIS
RELEASE FREELY AND VOLUNTARILY, WITHOUT BEING INDUCED,
PRESSURED, OR INFLUENCED BY, AND WITHOUT RELYING ON ANY
REPRESENTATION OR OTHER STATEMENT MADE BY OR ON BEHALF OF, ANY
PHILIPS DEFENDANT OR ANY OTHER PERSON.        I UNDERSTAND AND
ACKNOWLEDGE THE NATURE, VALUE, AND SUFFICIENCY OF THE
CONSIDERATION DESCRIBED IN THIS RELEASE. I ACKNOWLEDGE THAT I
HAVE READ THIS RELEASE AND THE DISCLOSURE DOCUMENTS PROVIDED TO
ME REGARDING THE SETTLEMENT AGREEMENT, THE PROGRAM AND THE
ALLOCATION OF THE SETTLEMENT FUND, AND I HAVE HAD AN OPPORTUNITY
TO OBTAIN ADVICE FROM, AND ASK QUESTIONS OF, COUNSEL OF MY
CHOOSING REGARDING THE TERMS AND LEGAL EFFECT OF THESE
DOCUMENTS AND MY DECISION TO PARTICIPATE IN THE PROGRAM. I
FURTHER ACKNOWLEDGE THAT I UNDERSTAND THIS RELEASE AND THAT

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ALTHOUGH I HAVE RECEIVED DISCLOSURE DOCUMENTS REGARDING THE
ALLOCATION OF THE SETTLEMENT FUND WHICH ENABLES ME TO ESTIMATE
MY INDIVIDUAL PLAINTIFF SETTLEMENT PAYMENT, THERE IS NO
GUARANTEE THAT I WILL RECEIVE ANY PARTICULAR AMOUNT UNDER THE
PROGRAM. I FURTHER ACKNOWLEDGE THAT THE INDIVIDUAL PLAINTIFF
SETTLEMENT PAYMENT FROM THE PROGRAM SHALL BE THE ONLY PAYMENT
TO ME BY ANY RELEASED PARTY. I FURTHER ACKNOWLEDGE THAT THIS
RELEASE IS THE PRODUCT OF A MEDIATED SETTLEMENT, THAT THE
MEDIATOR HAD NO DUTY TO PROTECT MY INTERESTS OR PROVIDE ME WITH
INFORMATION ABOUT MY LEGAL RIGHTS, AND THAT I SHOULD CONSULT
WITH COUNSEL IF I AM UNCERTAIN OF MY RIGHTS.

Waiver of Certain Provisions Regarding Timing of Any Payments: If I have any civil action
pending in any jurisdiction that has enacted, promulgated, or otherwise adopted any Law
containing provisions that establish specific time periods within which settlement funds, if any,
must be paid to me in connection with the settlement of such civil action and/or impose sanctions,
penalties or other similar obligations against the paying party if the settlement funds are not paid
within such time periods and/or invalidate or otherwise affect the terms of the settlement of such
civil action, I hereby (i) specifically and expressly waive (to the fullest extent permitted by
applicable Law) my rights under any such provisions and (ii) agree that payment of my Individual
Plaintiff Settlement Payment shall be made solely in accordance with the terms and conditions of
the Program.

No Admission of Fault: I understand and agree that the Philips Defendants have entered into the
Settlement Agreement and Program solely by way of compromise and settlement. These
documents are not, and shall not be construed at any time to be, an admission of liability,
responsibility, causation, fault or damages of or by any of the Philips Defendants or any other
Released Party.

Representations and Warranties: I hereby represent and warrant that I have full power, authority
and capacity to enter into this Release, which is enforceable in accordance with its terms. Except
as set forth in the section “Attorneys’ Fees; Division of Any Individual Plaintiff Settlement
Payment” above, I have the sole right to receive any and all Individual Plaintiff Settlement
Payments with respect to my claim under the Settlement, other than holders of rights in respect of
any Liens. Neither I nor any other Releasing Party has sold, assigned, transferred or otherwise
disposed of, or pledged or otherwise encumbered, any of the Released Claims in whole or in part,
other than any Liens on my settlement proceeds.

I hereby acknowledge and warrant that I am solely liable for the payment of taxes and/or liens, if
any, associated with the Settlement and the Program, and that all present and future liens that arise
out of or as a result of the Settlement and Program (including, but not limited to, any Medicare or
Medicaid liens, liens by any governmental entity, other entity or insurer, workers’ compensation
liens, employer ERISA plan liens, Social Security liens, hospital, physician, health care provider
or attorney liens) are my sole and exclusive responsibility.




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GOVERNING LAW: THIS RELEASE SHALL BE GOVERNED BY AND CONSTRUED
IN ACCORDANCE WITH THE SUBSTANTIVE LAW OF THE COMMONWEALTH OF
PENNSYLVANIA, WITHOUT REGARD TO ANY CHOICE-OF-LAW RULES THAT
WOULD REQUIRE THE APPLICATION OF THE LAW OF ANOTHER
JURISDICTION.

Severability: I agree that if any provision of this Release is adjudicated to be invalid, illegal or
unenforceable in any jurisdiction, the relevant provision shall be deemed modified to the extent
necessary to make it enforceable in such jurisdiction and, if it cannot be so modified, this Release
shall be deemed amended to delete herefrom the invalid or unenforceable provision, and this
Release shall be in full force and effect as so modified. Any such modification or amendment in
any event shall apply only with respect to the operation of this Release in the particular jurisdiction
in which such adjudication was made and shall not affect such provision in any other jurisdiction.
To the fullest extent permitted by applicable Law, I hereby (on my own behalf and on behalf of
each other Releasing Party) specifically and expressly waive any provision of Law that renders
any provision of this Release invalid, illegal or unenforceable in any respect.

Electronic Signatures: This Release, and any exhibits thereto, to the extent signed and delivered
electronically or by facsimile, shall be treated in all manner and respects as an original agreement,
and shall be considered to have the same binding legal effect as if it were the original signed
version thereof, delivered in person.

                      [The remainder of this page is intentionally left blank.]




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IN WITNESS WHEREOF, I have executed this Release on the date below, to be effective as of
the date set out in the first paragraph of this Release above:


      RELEASOR


             By: ________________________________________________




             Name: ______________________________________________




             Dated: ______________________________________________




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        SIGNATURE PAGE AND AGREEMENT BY DERIVATIVE CLAIMANT

        I am a person having or asserting the right to sue one or more of the Released Parties by
reason of my relationship with Releasor (or, if Releasor is a legal representative of a Recalled
Device user, such Recalled Device user). I hereby enter into the Release to which this signature
page is attached and agree to be bound by all of its terms (and, without limitation, hereby give and
make all releases, waivers, acknowledgements, agreements, representations and warranties
therein) on the same basis as Releasor set forth therein (including, but not limited to, all joint and
several indemnification obligations set forth therein). This agreement was executed on the date
below, and is effective as of the date set out in the first paragraph of the Release above.

       DERIVATIVE CLAIMANT


               By: ________________________________________________




               Name: ______________________________________________




               Dated: ______________________________________________




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            EXHIBIT “3”
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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF PENNSYLVANIA


IN RE: PHILIPS RECALLED CPAP, BI-                        Master Docket: No. 21-mc-1230-JFC
LEVEL PAP, AND MECHANICAL
VENTILATOR PRODUCTS LIABILITY                            MDL No. 3014
LITIGATION

This Document Relates to:

Personal Injury Claimants
and Potential Claimants


       [PROPOSED] CASE MANAGEMENT ORDER NO. __ (Identification Order)

        In accordance with the terms of the Master Settlement Agreement (“MSA”),1 the Court hereby

enters this Identification Order. This Order requires (i) all Primary Counsel for all Eligible Claimants,

and (ii) all Pro Se Eligible Claimants, to provide certain information within 30 days of this Order, i.e.,

no later than June ___, 2024 (the “Identification Order Deadline”).2

I.      IDENTIFICATION OF ALL ELIGIBLE CLAIMANTS

        Each counsel shall take any and all steps necessary by the Identification Order Deadline to

identify all Eligible Claimants for whom they are Primary Counsel, whether claims or potential

claims with respect to those Eligible Claimants have been filed in suit, asserted on the Census



1
       Terms not defined herein have the same meaning as in the MSA. The MSA is available
on the website of the Settlement Administrator, MDLCentrality.com/CPAP, and will be publicly
available at RespironicsPISettlement.com.
2
        As set forth in the MSA, Primary Counsel means (1) for any Eligible Claimant with a
Personal Injury Claim in the MDL, or participating in the Census Registry, the lawyer or law firm
listed as the registering Law Firm in MDL Centrality; (2) for any Eligible Claimant with a Personal
Injury Claim filed in state court, counsel of record for the Eligible Claimant; or (3) for any Eligible
Claimant with an unfiled Personal Injury Claim and who is not participating in the Census
Registry, counsel with an engagement or retainer agreement with such Eligible Claimant. Counsel
shall not be Primary Counsel for an Eligible Claimant if counsel’s representation of that Eligible
Claimant terminated prior to the Identification Order Deadline.
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Registry, or otherwise. Each Primary Counsel shall also submit the information set forth below

concerning all their Eligible Claimant clients by the Identification Order Deadline.

       Similarly, Pro Se Eligible Claimants, whether claims or potential claims with respect to

those Pro Se Eligible Claimants have been filed in suit, asserted on the Census Registry, or

otherwise, shall submit the information set forth below concerning their own claim(s) by the

Identification Order Deadline.

       Complete, accurate, and timely submission of this information is a requirement not only

of this Order but also to participate in the Settlement Program described in the MSA.

II.    SERVICE OF IDENTIFICATION ORDER DECLARATIONS IDENTIFYING
       ALL ELIGIBLE CLAIMANTS

       All counsel must submit an Identification Order Declaration via MDL Centrality, executed

under penalty of perjury, that identifies all of that counsel’s Eligible Claimants for whom they are

Primary Counsel and affirms under penalty of perjury that the Identification Order Declaration

includes all of the Primary Counsel’s Eligible Claimant clients.          The Identification Order

Declarations shall be in substantially the form set forth in Exhibit “A” attached hereto and shall

include in Excel format, for each Eligible Claimant, the following information:

           •   the name of the Eligible Claimant;

           •   the Eligible Claimant’s complete social security number;

           •   the address of the Eligible Claimant;

           •   the Eligible Claimant’s email address, if any;

           •   the Eligible Claimant’s date of birth;

           •   the Eligible Claimant’s Qualifying Injury;

           •   the docket number, if a case has been filed for the Eligible Claimant; and



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           •   the MDL Centrality Plaintiff ID number (if the Eligible Claimant has ever

               registered via MDL Centrality).

       Through the Identification Order Declarations, all Primary Counsel shall certify, under

penalty of perjury, that they have identified all Eligible Claimants for whom they serve as Primary

Counsel. That identification obligation applies (i) regardless of whether the Eligible Claimant

intends to participate in the Settlement Program set forth in the MSA, and (ii) regardless of whether

the Eligible Claimant’s claims or potential claims have been filed in suit, asserted on the Census

Registry, or otherwise.

       All Primary Counsel shall identify all Eligible Claimants they represent. Only Eligible

Claimants must be identified, and Primary Counsel shall not identify Ineligible Claimants (i.e.,

claimants alleging only Nonqualifying Injuries).

       Pro Se Eligible Claimants must submit an Identification Order Declaration, executed under

penalty of perjury, with the same information set forth above concerning their own claims or

potential claims. For all Pro Se Eligible Claimants, the Identification Order Declarations shall be

in substantially the form set forth in Exhibit “B” attached hereto.

       Technical Support is available from MDL Centrality by phone at (888) 361-0741 or by

email at MDLCentrality@browngreer.com.

       Counsel and Pro Se Eligible Claimants have an ongoing duty to update all of the information

required by this Order including, for example, when the personal information for an Eligible

Claimant is incorrect or outdated. Any updated information must be served within fourteen (14)

days of learning of such updated information, and shall be served through MDL Centrality.

       All Identification Order Declarations are hereby designated as “Confidential” under the

Amended Stipulated Protective Order entered in this matter (ECF No. 765). There is no need or



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requirement for the Identification Order Declarations to be separately marked as “Confidential” in

order for them to receive Confidential treatment under the Amended Stipulated Protective Order.

III.    DEADLINE AND COMPLIANCE

        Each Identification Order Declaration required under this Order shall be submitted via

MDL Centrality no later than the Identification Order Deadline. The timely submission of

complete and accurate Identification Order Declarations is critical to the effective administration

of the Settlement Program and to the Court’s management of its docket. Failure by Primary

Counsel or Pro Se Eligible Claimants to comply with the terms of this Order will be a violation and

shall be subject to sanctions, including sanctions of Primary Counsel.

        In the event any Primary Counsel or Pro Se Eligible Claimant fails to fully comply with

the requirements of this Order, Counsel for Defendants shall notify the Court of the alleged

violations, and the Court shall enter an Order to Show Cause why the Primary Counsel or Pro Se

Eligible Claimant should not be sanctioned. Said Primary Counsel or Pro Se Eligible Claimant

shall have 21 days to respond to the Order to Show Cause. If the Primary Counsel or Pro Se

Eligible Claimant fails to cure the violations or show good cause why they should not be sanctioned

within 21 days of the entry of the Order to Show Cause, the Court may impose appropriate

sanctions or other penalties on the Primary Counsel or Pro Se Eligible Claimant.

        SO ORDERED, on this ___ day __________.




                                             Honorable Joy Flowers Conti
                                             Senior United States District Judge




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                            EXHIBIT “A”



                DECLARATION OF PRIMARY COUNSEL




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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA


IN RE: PHILIPS RECALLED CPAP, BI-                     Master Docket: No. 21-mc-1230-JFC
LEVEL PAP, AND MECHANICAL
VENTILATOR PRODUCTS LIABILITY                         MDL No. 3014
LITIGATION

This Document Relates to:

Personal Injury Claimants
and Potential Claimants


        IDENTIFICATION ORDER DECLARATION OF PRIMARY COUNSEL

       1.      My name is [INSERT NAME OF COUNSEL], and I am an attorney at [INSERT

NAME OF LAW FIRM].

       2.      On behalf of myself and my firm, I submit this Identification Order Declaration in

accordance with the Master Settlement Agreement (“MSA”) and the Court’s Identification Order.

       3.      Attached hereto is a chart that identifies all Eligible Claimants for whom I

or my firm are Primary Counsel, as defined in the MSA. I certify that this chart identifies all

Eligible Claimants for whom I or my firm are Primary Counsel. I understand that the obligation to

identify all Eligible Claimants for whom I or my firm are Primary Counsel applies regardless of

whether the Eligible Claimants intend to participate in the Settlement Program set forth in the

MSA. I also understand that this obligation applies regardless of whether the Eligible Claimant’s

claims or potential claims have been filed in suit, asserted on the Census Registry, or otherwise.

       4.      I understand that to comply with the MSA and the Court’s Identification Order, this

Identification Order Declaration must be submitted by the Identification Order Deadline, which is

30 days after the Court’s Identification Order. The attached chart will be timely served in Excel

format through MDL Centrality in conformance with the Identification Order.

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       5.      I understand and agree that my failure to identify all Eligible Claimants for whom

I or my firm is Primary Counsel is a violation of the Identification Order and will result in sanctions

and other penalties as determined by the Court.

       I swear under penalty of perjury that the foregoing is true and correct.




 DATE: [MONTH] [DAY], [YEAR]                              /s/
                                                         [NAME OF COUNSEL]
                                                         [NAME OF LAW FIRM]
                                                         [ADDRESS]
                                                         [ADDRESS]
                                                         [ADDRESS]
                                                         [TELEPHONE NUMBER]
                                                         [EMAIL ADDRESS]




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                   IDENTIFICATION OF ELIGIBLE CLAIMANTS




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                            EXHIBIT “B”



           DECLARATION OF PRO SE ELIGIBLE CLAIMANT
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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA


IN RE: PHILIPS RECALLED CPAP, BI-                     Master Docket: No. 21-mc-1230-JFC
LEVEL PAP, AND MECHANICAL
VENTILATOR PRODUCTS LIABILITY                         MDL No. 3014
LITIGATION

This Document Relates to:

Personal Injury Claimants
and Potential Claimants


 IDENTIFICATION ORDER DECLARATION OF PRO SE ELIGIBLE CLAIMANT

       1.      My name is [INSERT NAME OF PRO SE ELIGIBLE CLAIMANT], and I am an

Eligible Claimant and not represented by counsel.

       2.      I submit this Identification Order Declaration in accordance with the Master

Settlement Agreement (“MSA”) and the Court’s Identification Order.

       3.      Attached hereto is a chart that identifies my personal information and the other

information required by the Identification Order. I certify that this information is accurate. I

understand that in submitting this Declaration, I am not making the determination of whether or

not to participate in the Settlement Program set forth in the MSA.

       4.      I understand that to comply with the MSA and the Court’s Identification Order, this

Identification Order Declaration must be submitted by the Identification Order Deadline, which is

30 days after the Court’s Identification Order. The attached chart will be timely served in Excel

format through MDL Centrality in conformance with the Identification Order.

       5.      I understand and agree that my failure to provide the information required by the

Identification Order will result in sanctions and other penalties as determined by the Court.

       I swear under penalty of perjury that the foregoing is true and correct.

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DATE: [MONTH] [DAY], [YEAR]               /s/
                                          [NAME OF CLAIMANT]
                                          [ADDRESS]
                                          [ADDRESS]
                                          [ADDRESS]
                                          [TELEPHONE NUMBER]
                                          [EMAIL ADDRESS]




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                IDENTIFICATION OF PRO SE ELIGIBLE CLAIMANT




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            EXHIBIT “4”
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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF PENNSYLVANIA


 IN RE: PHILIPS RECALLED CPAP, BI-
 LEVEL PAP, AND MECHANICAL
 VENTILATOR PRODUCTS LIABILITY
 LITIGATION                                               Master Docket: Misc. No. 21-01230

 This Document Relates To:                                MDL No. 3014

 All Litigating Plaintiff Cases



             [PROPOSED] CASE MANAGEMENT ORDER NO. __:
    DOCKET MANAGEMENT ORDER FOR CLAIMS OF LITIGATING PLAINTIFFS

       This Case Management Order (the “Order”) applies to all Litigating Plaintiffs, who are

defined as individuals asserting Personal Injury Claims against one or more of the Philips

Defendants who do not register for the Settlement Program by the Registration Deadline set forth

in the May 9, 2024 Personal Injury Master Settlement Agreement (“MSA”). 1 An individual who

has asserted such claims on or prior to the Registration Deadline becomes a Litigating Plaintiff as

of the Registration Deadline. An individual who first asserts such claims after the Registration

Deadline becomes a Litigating Plaintiff as of the date of the filing of such claims.

       Consistent with the Court’s inherent authority to manage these proceedings, and in light of

the Settlement Program agreed to after years of litigation and complex and extensive discovery

and motion practice before this Court and the Special Masters, the Court finds it appropriate at this

time to exercise its discretion to enter this Order to fairly, effectively and efficiently manage the




    1 Terms not defined herein have the same meaning as in the MSA. The MSA is available
on the website of the Settlement Administrator, MDLCentrality.com/CPAP, and will be publicly
available at RespironicsPISettlement.com.
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cases of any Litigating Plaintiffs. This Order requires all Litigating Plaintiffs to produce certain

specified information regarding their claim(s), including medical records and evidence relating to

device usage, their alleged injury(ies), and causation, and provides deadlines to meet those

requirements prior to further proceedings, including any further discovery, motion practice, or trial

on the merits. Litigating Plaintiffs shall be bound by the requirements of this Order and shall fully

comply with all obligations required by this Order.           The Court expects complete and full

compliance with this Order and reserves its ability to dismiss a Litigating Plaintiff’s case with

prejudice for failure to adhere to the terms of this Order.

  I.        BACKGROUND AND STATUS OF PROCEEDINGS

            1.    On June 14, 2021, Philips RS North America LLC voluntarily recalled certain

prescription medical devices, including certain Continuous Positive Airway Pressure (“CPAP”),

Bi-Level Positive Airway Pressure (“BiPAP”), and mechanical ventilator devices (the “Recall”

and the “Recalled Devices”).

            2.    On October 8, 2021, the United States Judicial Panel on Multidistrict Litigation

(“JPML”) established MDL 3014 to centralize cases concerning the Recalled Devices. More than

800 cases have been filed in or removed to this MDL to date, and more than 58,000 potential

claimants entered the Census Registry.

            3.    District courts have inherent authority to manage their dockets. This is especially

true in large litigations, such as this MDL. 2 A district court’s power extends to, for example,




       2
       See, e.g., In re Asbestos Prods. Liab. Litig., 718 F.3d 236, 246 (3d Cir. 2013) (“[D]istrict
judges must have authority to manage their dockets, especially during [a] massive litigation.”)
(quoting In re Fannie Mae Sec. Litig., 552 F.3d 814, 823 (D.C. Cir. 2009)); see also Ramirez v.
T&H Lemont, Inc., 845 F. 3d 772, 776 (7th Cir. 2016) (“[A] court has the inherent authority to
manage judicial proceedings and to regulate the conduct of those appearing before it.”).

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“controlling and scheduling discovery, including orders affecting disclosures and discovery under

Rule 26 and Rules 29 through 37,” “adopting special procedures for managing potentially difficult

or protracted actions that may involve complex issues, multiple parties, difficult legal questions,

or unusual proof problems,” and “facilitating in other ways the just, speedy, and inexpensive

disposition of the action.” Fed. R. Civ. P. 16(c)(2)(F), (L) & (P).

         4.     This Court is granted wide discretion with regard to case management, 3 and has the

authority to streamline litigation in complex cases through rigorous Case Management Orders,

particularly in mass tort cases. 4



    3
       As the U.S. Court of Appeals for the Third Circuit has recognized, “multidistrict litigation
‘presents a special situation, in which the district judge must be given wide latitude with regard to
case management in order to effectively achieve the goals set forth by the legislation that created
the [JPML].’ This wide latitude applies, in particular, to issuing discovery orders, and to
dismissing actions for non-compliance with such orders.” In re Avandia Mktg., Sales Pracs. &
Prods. Liab. Litig., 687 F. App’x 210, 214 (3d Cir. 2017) (citation omitted); see also In re Guidant
Corp. Implantable Defibrillators Prods. Liab. Litig., 496 F.3d 863, 866 (8th Cir. 2007) (affirming
MDL court’s dismissal of claims for failure to comply with discovery orders); In re
Phenylpropanolamine Prods. Liab. Litig., 460 F.3d 1217, 1229 (9th Cir. 2006) (“In re PPA”)
(“[A]dministering cases in multidistrict litigation is different from administering cases on a routine
docket.”; finding no abuse of discretion in MDL court’s dismissal of claims for failure to comply
with discovery and product identification case management orders); Freeman v. Wyeth, 764 F.3d
806, 809 (8th Cir. 2014) (affirming MDL court’s dismissal of claims for failure to provide medical
authorizations); In re Asbestos Prods. Liab. Litig., 718 F.3d at 246 (“[A]dministering cases in
multidistrict litigation is different from administering cases on a routine docket.”) (quoting In re
PPA, 460 F.3d at 1229).
    4
      In re Vioxx Prods. Liab. Litig., 557 F. Supp. 2d 741, 743 (E.D. La. 2008) (internal citations
omitted). Appellate courts have regularly upheld these sorts of Case Management Orders in MDL
proceedings. See, e.g., In re Phenylpropanolamine (PPA) Prods. Liab. Litig., 460 F.3d 1217, 1232
(9th Cir. 2006) (stating that “[c]ase management orders are the engine that drives disposition on
the merits,” and finding no abuse of discretion in MDL court’s dismissal of claims for failure to
comply with discovery and product identification case management orders); United States v. Graf,
610 F.3d 1148, 1169 (9th Cir. 2010) (citing United States v. W.R. Grace, 526 F.3d 499, 508-09
(9th Cir. 2008) (en banc)) (“A district court has broad authority to enter pretrial case management
orders to ensure that the trial proceeds efficiently.”); In re Avandia, 687 F. App’x at 214 (affirming
MDL court’s dismissal for failure to comply with an order requiring that future plaintiffs provide
an expert report); Dzik v. Bayer Corp., 846 F.3d 211, 216 (7th Cir. 2017) (affirming MDL court’s

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         5.     The broad discretion afforded to the Court enables it to enter case management

orders after substantial discovery has taken place in a mature mass tort or multidistrict litigation

where, as here, a defendant has taken steps to settle a significant portion of the claims pending

against it. 5 Many MDL courts have exercised their discretion and inherent authority to enter orders

establishing discovery and other requirements for future cases filed against settling defendants in

mass tort litigation.6

         6.     In the nearly three years since this MDL was formed, the parties and the Court have

expended extraordinary resources to manage these matters effectively and expeditiously. Among

other things: The parties and the Court have participated in a Science Day. The Parties have

briefed various motions to dismiss, including motions to dismiss amended master complaints, and




dismissal for plaintiff’s failure to comply with discovery order and stating that “[d]istrict courts
handling complex, multidistrict litigation ‘must be given wide latitude with regard to case
management’ in order to achieve efficiency”) (citation omitted); Acuna v. Brown & Root, Inc., 200
F.3d 335, 340 (5th Cir. 2000) (“Lone Pine orders are designed to handle the complex issues and
potential burdens on defendants and the court in mass tort litigation. In the federal courts, such
orders are issued under the wide discretion afforded district judges over the management of
discovery under Fed. R. Civ. P. 16.”).
    5
        See Avila v. Willits Env’t Remediation Tr., 633 F.3d 828, 833 (9th Cir. 2011) (noting such
orders are authorized by district judge’s “broad discretion to manage discovery and to control the
course of litigation under Federal Rule of Civil Procedure 16”).
    6
        See, e.g., In re Am. Med. Sys., Inc. Pelvic Repair Sys. Prods. Liab. Litig., MDL No. 2325,
Pretrial Order # 239, ECF No. 4272 (S.D.W. Va. June 7, 2017) (establishing requirements for
future claims against a defendant due to “recent settlement developments” of thousands of claims
after more than three years of litigation); In re Testosterone Replacement Therapy Prods. Liab.
Litig., MDL No. 2545, Case Management Order No. 126, ECF No. 2716 at 1-2 (N.D. Ill. June 11,
2018) (finding it appropriate to enter an order to manage remaining litigation in light of the parties’
settlement agreements entered after years of litigation); In re Zostavax (Zoster Vaccine Live)
Prods. Liab. Litig., No. CV 18-MD-2848, 2022 WL 952179, at *2-3 (E.D. Pa. Mar. 30, 2022)
(quoting 28 U.S.C. § 1407(a)) (“A Lone Pine management order is the only viable way that ‘will
promote the just and efficient conduct of [these] actions.’”); In re Proton-Pump Inhibitor Prods.
Liab. Litig. (No. II), MDL 2789, Case Management Order No. 109, ECF 955 (D.N.J. Oct. 2, 2023)
(recognizing the utility of docket control orders “when a defendant has taken steps to settle a
significant portion of the claims pending against it”) (collecting cases).

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this Court (with the assistance of a Special Master) has determined various aspects of those

motions, in whole or in part. The parties successfully settled the economic loss claims on a class-

wide basis. The Census Registry has been active since September 2022, and more than 57,000

potential claimants have registered. This Court has provided notice of the Census Registry on the

Court’s website since September 2022. The Personal Injury Plaintiffs have been participating in

the Short Form Complaint and Plaintiff Fact Sheet process since October 2022, submitting over

170,000 documents to MDL Centrality. The Philips Defendants have submitted nearly 600

Defendant Fact Sheets. The parties have taken more than 50 depositions, including of third parties,

and exchanged millions of documents on all relevant issues, including extensive testing relating to

general causation, both prior to and after the Recall. The Special Master has resolved many

discovery disputes among the parties.      The Court has heard argument on privilege issues,

jurisdictional issues, and numerous rounds of dispositive motions, and the parties have participated

in numerous conferences with the Court and the Special Masters. In short, proceedings in this

MDL are very mature.

        7.     Recognizing that continued litigation in pursuit of remaining claims will require

enormous strain on the parties and the judiciary, and without admission of fault or liability, the

parties entered into the MSA, which creates a program to resolve those Personal Injury Claims for

which Plaintiffs’ Negotiating Counsel believe there is any expert and/or scientific support (i.e.,

claims asserting Qualifying Injuries).

        8.     For these and other reasons, the Court orders as follows:

 II.    STAY OF PROCEEDINGS PENDING SETTLEMENT REGISTRATION
        PROCESS

        9.     So as to afford plaintiffs the opportunity to consider the Settlement Program, and

to ensure the orderly and effective administration of the Settlement Program, all deadlines for the

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Personal Injury and Medical Monitoring Tracks set in this Court’s Order of April 16, 2024 (ECF

No. 2727) are hereby vacated. Further, absent agreement of the Philips Defendants and Plaintiffs’

Negotiating Counsel, all Personal Injury Claims against one or more of the Philips Defendants are

hereby stayed through and including the Registration Deadline.

        10.    If after the Registration Deadline, any cases remain for which a Litigating Plaintiff

has moved to remand to state court, the Court will set a schedule for those motion(s), including

oral argument, following the Registration Deadline.

        11.    In light of the withdrawal of the Philips Defendants from the Census Registry

Program Agreement and the termination of the Census Registry Program, the Clerk is hereby

directed to remove the Census Registry Program Agreement from the Court’s website.

III.    PRESERVATION NOTICE REQUIREMENTS

        12.    No later than 30 days after the date on which an individual becomes a Litigating

Plaintiff as defined above, counsel for the Litigating Plaintiff (or, if unrepresented, the pro se

Litigating Plaintiff) shall notify the following individuals or entities, in writing, that they may have

records relevant to the Litigating Plaintiff’s claims and that any records relating to the Litigating

Plaintiff must be preserved pending collection by the Litigating Plaintiff (the “Notice” or

“Notices”):

               a.      All physicians and/or other healthcare providers who treated the Litigating

                       Plaintiff, including mental health treatment providers for a Litigating

                       Plaintiff alleging injury related to mental health;

               b.      All physicians and/or other healthcare providers who prescribed the

                       Recalled Device(s) to the Litigating Plaintiff;




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                c.      Any person (if not the Litigating Plaintiff) in possession, custody or control

                        of the Recalled Device(s);

                d.      For Litigating Plaintiffs alleging death, all pathologists and coroners; and

                e.      If a Litigating Plaintiff is seeking lost wages, all of his or her employers for

                        the period from three years prior to the date for which he or she is seeking

                        lost wages, through the last day for which the Litigating Plaintiff is seeking

                        lost wages.

        13.     All copies of the Notices shall be preserved by counsel for the Litigating Plaintiff

or the pro se Litigating Plaintiff for so long as the claim remains pending. Counsel for the

Litigating Plaintiff or the pro se Litigating Plaintiff shall also serve a statement identifying the

names and addresses of all individuals or entities to which Notices were sent, along with copies of

the Notices and a signed certification that the Notices were sent as required by this Order, with

their Plaintiff Fact Sheet.

        14.     Litigating Plaintiffs may not seek to introduce into evidence at trial any document

or information from anyone to whom Notice was required to be provided if a Notice was not sent

to such person as required by this Order, except with leave of Court for good cause shown.

IV.     LITIGATING PLAINTIFFS’ REQUIREMENTS TO PRODUCE CERTAIN
        SPECIFIED INFORMATION REGARDING THEIR CLAIMS

        15.     All Litigating Plaintiffs shall serve the following documents and/or information

upon counsel for Defendants within the timeframe provided in Section V. All Litigating Plaintiffs’

productions shall comply with the search, production, and certification requirements of Pretrial

Order No. 18 (ECF No. 660).




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              a.      Litigating Plaintiffs’ Production Requirements 7

                     i.      All disclosures required by Fed. R. Civ. P. 26(a)(1).

                   ii.       Litigating Plaintiff Fact Sheet.    Each Litigating Plaintiff must

                             prepare and submit to Defendants a Fact Sheet and all

                             accompanying authorizations for the release of records, in the forms

                             attached to the Litigating Plaintiff Fact Sheets, signed under penalty

                             of perjury.

                   iii.      Medical Records. All medical records relating to the Litigating

                             Plaintiff from any time before, during and after the Litigating

                             Plaintiff’s use of the Recalled Device, including mental health

                             records if Litigating Plaintiff alleges an injury related to mental

                             health.

                   iv.       Autopsy Reports and Death Certificates. For all Litigating Plaintiffs

                             alleging death, all autopsy reports regarding the deceased, as well as

                             any accompanying notes or records.

                    v.       Records Relating to Use of the Recalled Device and any CPAP,

                             BiPAP, or mechanical ventilator acquired to replace the Recalled

                             Device (a “Replacement Device”). All documents evidencing any

                             use (or non-use) of the Recalled Device or Replacement Device,

                             including but not limited to DreamMapper data, photos, videos,




   7
       All documents produced pursuant to Section 12(a) will be deemed “Confidential” under
the Amended Stipulated Protective Order, ECF No. 765, in the first instance, subject to a later
process of re-designating these materials and challenges to any re-designation.
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                   messages, emails, chats, social media, materials indicating

                   instructions or habits with respect to cleaning the Recalled Device

                   or Replacement Device, or other communications relating to the use

                   or non-use of the Recalled Device or Replacement Device.

           vi.     Record Collection Production. The Litigating Plaintiff and his/her

                   counsel shall affirmatively collect and produce such records from

                   all available sources in the Litigating Plaintiff’s possession, custody,

                   or control, which includes but is not limited to any relevant records

                   that can be collected from the Litigating Plaintiff’s medical facilities

                   and health care providers that treated the Litigating Plaintiff.

                   Counsel for the Litigating Plaintiff (or the pro se Litigating Plaintiff)

                   shall be responsible for submitting necessary authorizations or other

                   requests required to obtain the Litigating Plaintiff’s medical records,

                   personnel files and other documents required by this Order.

                   Because of the need to ensure timely and thorough collection and

                   production and review of all relevant records by the parties, a

                   Litigating Plaintiff and his/her counsel, if any, must both collect and

                   produce records and provide authorizations in order to comply with

                   this Order.

           vii.    Declaration. A Declaration under penalty of perjury signed by the

                   Litigating Plaintiff’s counsel attesting (i) that the Litigating Plaintiff

                   has provided a Litigating Plaintiff Fact Sheet, executed under

                   penalty of perjury; (ii) that all available records in the Litigating



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                             Plaintiff’s possession, custody or control described in the foregoing

                             sections have been collected and produced; (iii) that the Litigating

                             Plaintiff’s production complies with all of the requirements of

                             Pretrial Order No. 18; and (iv) that counsel has met with the

                             Litigating Plaintiff, personally investigated the merit of Litigating

                             Plaintiff’s claim(s) and satisfied himself or herself that the claim(s)

                             is/are meritorious, and discussed with the Litigating Plaintiff their

                             claims and likelihood of success. If any of the documents or records

                             described in the foregoing sections do not exist or exist but cannot

                             be obtained, the signed affidavit by the Litigating Plaintiff’s counsel

                             shall state that fact and the reasons why such materials do not exist

                             or cannot be obtained, and shall provide a “No Records Statement”

                             from each records custodian (or proof of return to sender from the

                             United States Postal Service if the last known address of the medical

                             provider is no longer valid).

              b.      Litigating Plaintiffs’ Proof of Injury Requirements

       16.    All Litigating Plaintiffs shall serve upon Defendants, within the timeframe

provided in Section V, all medical records that document the Litigating Plaintiff’s alleged

diagnosis and related injuries, including but not limited to a contemporaneous statement from the

diagnosing physician that the Litigating Plaintiff was diagnosed with the alleged injury, all

diagnostic reports, x-rays, CT scans, PET scans, laboratory reports, treatment plans, Emergency

Room and Urgent Care records, and pharmaceutical records.




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               c.      Litigating Plaintiffs’ Expert Reports

         17.   All Litigating Plaintiffs shall serve upon counsel for Defendants, within the

timeframe provided in Section V, expert report(s) in compliance with Federal Rule of Civil

Procedure 26, including, but not limited to, on the following topics:

                      i.      an opinion that the Litigating Plaintiff has a specified personal injury

                              both generally and specifically caused by a Recalled Device, and

                              how the Recalled Device both generally and specifically caused

                              such Litigating Plaintiff’s alleged personal injury;

                    ii.       an opinion ruling out alternative causes for the Litigating Plaintiff’s

                              alleged personal injury;

                    iii.      a detailed description of facts, medical and scientific literature,

                              testing, and any other authorities relied upon by the expert to support

                              such opinions;

                    iv.       a description of all of the Litigating Plaintiff’s alleged damages; and

                     v.       a complete set of records relied upon in forming the expert’s

                              opinions, including any medical records and test results.

         18.   Form or template reports are not permitted and will be stricken by the Court.

 V.      COMPLIANCE

      a. Deadline

         19.   The items required by Section IV shall be produced no later than 60 days after the

date on which an individual becomes a Litigating Plaintiff, except that expert reports shall be

produced no later than 90 days after such date.




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b.     Failure to Comply

       20.     The Court has entered this Order establishing requirements and setting deadlines

for the purpose of ensuring that further pretrial litigation against the Defendants in this mature

MDL will progress as smoothly and efficiently as possible. Should any Litigating Plaintiff fail to

fully comply with the obligations of this Order, such Litigating Plaintiff’s case is subject to

dismissal with prejudice.

       21.     In the event any Litigating Plaintiff fails to fully comply with the requirements of

this Order, Counsel for Defendants shall notify the Court of the alleged deficiencies, and the Court

shall enter an Order to Show Cause why the Litigating Plaintiff’s case should not be dismissed

with prejudice. Counsel for Litigating Plaintiffs (or, if unrepresented, the pro se Litigating

Plaintiffs) shall have 21 days to respond to said Order to Show Cause. If any of the Litigating

Plaintiffs fail to cure the deficiencies or show good cause why their case should not be dismissed

with prejudice within 21 days of the entry of the Order to Show Cause, those Litigating Plaintiffs’

claims will be dismissed with prejudice.

VI.    ADDITIONAL CASE-SPECIFIC DISCOVERY AND RELATED MOTION
       PRACTICE FOR INDIVIDUAL LITIGATING PLAINTIFFS

       22.     If a Litigating Plaintiff provides all of the materials contemplated by this Order, the

Court shall set further deadlines for management of the case, including deadlines (i) for

Defendants’ expert reports on general causation, (ii) for motion practice on general causation,

including under Rule 702, (iii) for additional case-specific discovery following decision(s) on

general causation, and (iv) for motion practice on remaining issues, including specific causation

and summary judgment.

       23.     Based upon the outcome of these motions, if appropriate, the Court will set Case

Management Conferences to determine whether any non-duplicative discovery, including


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additional expert disclosures, is necessary and to discuss other case management issues. The filing

and briefing of summary judgment motions and Rule 702 motions (which the Court will schedule)

shall not prejudice or otherwise foreclose the opportunity for any party to file later, non-duplicative

summary judgment and Rule 702 motions after completing any additional discovery. Any party

seeking to file non-duplicative dispositive motions, including motions related to personal

jurisdiction, must first file a motion requesting a Case Management Conference. The Court will

set deadlines for filing such motions.

       24.     Upon the expiration of the Registration Deadline, counsel for the Philips

Defendants shall notify the Court that the deadline for registration in the Settlement Program has

expired and shall request a conference with the Court within 60 days thereafter.



                                                       ____________________________________
                                                       HONORABLE JOY FLOWERS CONTI




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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF PENNSYLVANIA


                                                         )
IN RE: PHILIPS RECALLED CPAP, BI-LEVEL                   )
PAP, AND MECHANICAL VENTILATOR                           )
PRODUCTS LIABILITY LITIGATION                            ) Case No. 2:21-mc-01230-JFC
                                                         ) MDL No. 3014
THIS DOCUMENT RELATES TO:                                )
                                                         ) Honorable Joy Flowers Conti
Personal Injury Cases Brought By Litigating              )
Plaintiffs                                               )



                         LITIGATING PLAINTIFF FACT SHEET

       This Litigating Plaintiff Fact Sheet (“PFS”) must be completed by all Litigating Plaintiffs,
as defined by Case Management Order No. _____. Please answer every question truthfully and
accurately to the best of your knowledge.

   1. You must answer every question and provide all requested materials in this PFS. It is not
       sufficient to answer a question by saying “see medical records”; you must complete this
       form by providing a response to each question.

   2. If you have previously submitted a version of this PFS prior to the Court’s Case
       Management Order No. ____, such submission does not satisfy your PFS requirement
       under the Order. You must answer every question and provide all requested materials as
       detailed in this PFS, which seeks additional information specific to Litigating Plaintiffs.

   3. Please consult with your lawyer if you need any assistance.

   4. Please do not leave any questions unanswered; if a question does not apply, then please
       respond with “N/A”.        The PFS will be considered deficient and will require
       supplementation in accordance with the deficiency process set forth in Case Management
       Order No. _____ if questions are left unanswered.

   5. By signing the declaration at the end of this document, you are making your responses
       under oath and under penalty of perjury as if you were testifying in court.
                                                 1
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   6. You must supplement your responses if you learn that they are incomplete or incorrect, or
       if your circumstances have changed, in any material respect.

   7. For each question where the space provided does not allow for a complete answer, please
       attach additional sheets so that you can provide complete answers. When attaching
       additional sheets, clearly label to which question your answer pertains and upload and
       produce the additional sheets via MDL Centrality.

   8. You must authorize the disclosure of your personal records (including medical information
       protected by HIPAA, 45 CFR 164.508) for the purpose of review and evaluation in
       connection with your claim. For each health care provider, physician, pharmacy, retailer,
       and government agency identified in your responses to the PFS, please provide completed
       and signed (but undated) authorizations attached as Exhibit C as described in part VI
       below. You may not provide a blank authorization form. All authorizations must be
       completed to include the addressee.

   9. Definitions:

          o “Health Care Provider” means any hospital, clinic, medical center, physician’s
            office, infirmary, medical or diagnostic laboratory, or other facility that provides
            medical, dietary, psychiatric, or psychological care or advice, and any pharmacy,
            weight loss center, x-ray department, laboratory, physical therapist or physical
            therapy department, rehabilitation specialist, physician, psychiatrist, osteopath,
            homeopath, chiropractor, psychologist, nutritionist, dietician, or other persons or
            entities involved in the evaluation, diagnosis, care, and/or treatment of the plaintiff
            or plaintiff’s decedent.

          o “Durable medical equipment” (“DME”) means any equipment or supplies
            ordered by a healthcare provider for a patient due to a medical condition or illness.

          o “Respironics Device” means any Continuous Positive Airway Pressure device, Bi-
            Level Positive Airway device, or mechanical ventilator device manufactured by
            Philips RS North America LLC that you acquired or used at any time.
          o “Other Device” means any Continuous Positive Airway Pressure device, Bi-Level
            Positive Airway device, or mechanical ventilator device that you acquired or used
            at any time, other than a Respironics Device.

       Information provided in response to this PFS, including any response to any
authorizations, will only be used for purposes related to this litigation, and shall be deemed

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Confidential pursuant to the Amended Stipulated Protective Order (ECF No. 765). A
completed PFS shall be considered discovery responses pursuant to Fed. R. Civ. P. 33 and 34 and
will be governed by the standards applicable to written discovery under the Federal Rules of Civil
Procedure.




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                             I.   GENERAL INFORMATION

1. Legal name of person completing this PFS (first, middle, last):

2. Legal name of person or entity on whose behalf a claim is being made (if different from
   the person identified in response to question 1) (first, middle, last):

3. Legal name of person who uses or used the Respironics Device(s) (if different from the
   person identified in response to question 2) (first, middle, last):

4. Previous or Additional Names used by person who uses/used the Respironics Device(s):

5. Identify each person that you believe has knowledge or information regarding the facts,
   circumstances, injuries, conditions, damages, or allegations contained in your Complaint.

6. If you are completing this PFS in a representative capacity (e.g., on behalf of the estate of
   a deceased person or on behalf of a minor), please complete the following information
   about yourself and the person on whose behalf you are completing the PFS (the
   “Represented Person”):

  Your Address           Represented Person’s       Capacity in which        Relationship to
                         Address (Respironics             you are           the Represented
                         Device User/Plaintiff’s     representing the            Person
                         Last Known Address)           individual or          (Respironics
                                                           estate                Device
                                                                             User/Plaintiff)




       a. If you represent a decedent’s estate complete the following:

           Date of death:

           State of death:

7. Case Information:

       This PFS pertains to the following case:

     Case Name:

     Case
     Number:




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The rest of this PFS requests information about the person who used the Respironics
Device(s). If you are completing this form in a representative capacity, please respond to the
remaining questions with information about the person who used the Respironics Device(s).
Whether you are completing this PFS for yourself or for someone else, “you” means the
person who used the Respironics Device.




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                                II.   RESPIRONICS DEVICE USAGE

      COMPLETE THE QUESTIONS IN THIS SECTION FOR EACH RESPIRONICS
      DEVICE. (ATTACH SEPARATE SHEETS AS NECESSARY FOR ADDITIONAL
      DEVICES.)

         8. Please complete the following chart for each Respironics Device. For each Health Care
            Provider and DME identified in this section, please complete an authorization attached as
            Exhibit C, as explained in Section VI., Paragraph 3.

  Respironics Respironics Approximate How much Reason for       Name and Address of    Name and
    Device      Device     Purchase   of the total Use of the  Health Care Provider(s) address of
    Model       Serial      Date of    purchase Respironics              who            the DME
  Name and     Number     Respironics price of the  Device    prescribed/recommended      that
   Number                   Device    Respironics                   the use of the      provided
                                      Device did                 Respironics Device        the
                                       you pay?                                        Respironics
                                                                                         Device




         9. For each Respironics Device in the table above, complete the following:

Respironics    What date did     In general, how        In general, how     Did you use    If yes daytime use,
Device Name   you start using   many nights per 7       many hours per          the        approximately how
 and Serial   the Respironics   day week do/did         night do/did you    Respironics    many hours per day
  Number          Device?          you use the              use the        Device during    do/did you use the
                                   Respironics            Respironics      the daytime?    Respironics Device?
                                     Device?                Device?            (Y/N)




                a. Identify every city and state you have resided in which you used the Respironics
                   Device(s) listed above and the dates of residence for each location.

          Dates of residence            Location (city and state)



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   10. For each Respironics Device listed above, where do/did you store the Respironics Device
       when it is/was not in use?

       Respironics Device Name and Serial               Where was the Respironics Device
                    Number                                          stored?




   11. Have you paused or stopped your usage of the Respironics Device?

          a. If so, when and for what period of time?

      Have you paused/stopped using the              When and for what period of time?
             Respironics Device?




   12. Other than advice from your attorneys, identify and describe any advice or guidance you
       received regarding your use or usage, or continued use or usage, of your Respironics
       Device(s), including but not limited to any such advice or guidance after the Philips RS
       recall, including from your Health Care Provider.

   13. Have you or anyone on your behalf ever cleaned your Respironics Device?

Respironics Device       Have you or anyone        How did you clean      What products did you use to
 Name and Serial         on your behalf ever        the Respironics      clean the Respironics Device(s)?
     Number                 cleaned your               Device(s)           (Please identify all products,
                             Respironics                                      including any products
                             Device(s)?


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                                                                           advertised by third parties as
                                                                             CPAP cleaning devices.)




  14. Have you ever noticed any particulate or dark matter in or on the Respironics Device(s)?

         a. If yes, please identify when you first noticed the particulate/dark matter?

         b. Identify any and all evidence you have, if any, that the foam in your Respironics
            Device actually degraded.

  15. Have you used any optional accessories (e.g., humidifier, cleaners, wipes,
      masks/headgear, tubing hoses, filters, nasal cushions, etc.) in combination with the
      Respironics Device?

         a. If yes, please complete the chart below.

Accessory Name           Accessory Type            From Whom Did           When Did You
                                                   You Acquire the         Acquire the
                                                   Accessory?              Accessory?




  16. When did you first hear about the recall notification for your Respironics Device?

  17. Did you participate in the recall?

         a. If yes, when?

         b. What is your Philips Device Registration Confirmation Code Number?




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                         III.   PERSONAL INFORMATION

18. Current address and date you moved there:

            Current Address                              Date you moved there




19. Most recent former address and dates (approximate) during which you resided there:

     Most Recent Former Address                   Dates during which you resided there
                                                            (approximately)




20. Social Security Number:

21. Date of birth:

22. Are you currently employed? YES _____ NO _______

   If yes, please identify your current employer with name, address and telephone number:

     Current Employer                       Address                   Phone Number




   If not, did you leave your last job for a medical reason? YES _____ NO _______

           If yes, describe the medical reason:

23. Have you ever been out of work for more than thirty (30) days for reasons related to your
    health in the past five (5) years? YES _____ NO _______

           If yes, please state the approximate dates you were out of work, employer, and
           health condition:

Approximate Dates you            Employer at the time               Health Condition
  were out of work




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24. Have you ever served in any branch of the military? If yes, please identify.

       a. Were you ever discharged for any reason relating to your medical or physical
          condition? If yes, state what that condition was:

25. If you have Medicare, please state your Health Insurance Claim Number (“HICN”)
    number:




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                      IV.   PERSONAL MEDICAL BACKGROUND

26. Current height and weight:

                      Height                                    Weight




27. Approximate weight at date of CPAP prescription:

28. Medical Conditions:

        a. To the best of your knowledge, have you ever experienced or been diagnosed with
           any of the following conditions from the time beginning ten (10) years before
           your first use of the Device(s) to the present? Please select Yes or No for each
           condition. For each condition for which you answer Yes, please complete the
           Treating Physician information. For each Treating Physician identified in this
           section, please complete an authorization attached as Exhibit C, as explained in
           Section VI., Paragraph 3.

Condition              Yes No    Do Not    Treating Physician
Experienced or                   Know
Diagnosed
Acute Inhalation
Injury
Acute Respiratory
Failure
Allergies or
Allergic Reaction
Asthma
Atrial Fibrillation
Bronchitis
Cancer
Chronic
Obstructive
Pulmonary
Disease
Chronic Kidney
Disease
Chronic Sinusitis
Heart Failure
Lung Injury or
Damage
Nasal Turbinate
Hypertrophy

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Pneumonia
Pulmonary
Fibrosis
Sarcoidosis
Sleep Apnea
Recurrent
Esophageal
Candida
Respiratory
Infection or
Failure

29. If you have been diagnosed with cancer, which type of cancer were you diagnosed with?
    For each Treating Physician identified in this section, please complete an authorization
    attached as Exhibit C, as explained in Section VI., Paragraph 3.


               Type of Cancer                       Treating Physician (if different than
                                                           above in Question 28)




30. If you were diagnosed with a sleep disorder, please state the disorder and treatment to
    address the disorder (if any).

               Sleep Disorder                        Treatment to address the disorder




31. Health Care Providers (Excluding Mental Health Care Providers): To the best of your
    recollection, identify each Health Care Provider who has provided treatment to you for
    any reason (excluding mental health reasons) in the past ten (10) years and the reason for
    consulting the Health Care Provider (attach additional sheets as necessary). For each
    provider identified in this section, please complete an authorization attached as Exhibit C,
    as explained in Section VI., Paragraph 3.



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Name                    Address                  Approximate              Reason(s) for Visit
                                                 Dates/Years of           or Specialty
                                                 Visits




  32. Hospitals, Clinics, and Other Facilities: To the best of your recollection, identify each
      hospital, clinic, surgery center, physical therapy or rehabilitation center, or other
      healthcare facility where you have received inpatient or outpatient treatment in the past
      ten (10) years (including any hospitalization and emergency room treatment) for any
      reason (attach additional sheets as necessary). For each hospital, clinic, surgery center,
      physical therapy or rehabilitation center, or other healthcare facility identified in this
      section, please complete an authorization attached as Exhibit C, as explained in Section
      VI., Paragraph 3.

Name                    Address                  Approximate              Reason(s) for Visits
                                                 Admission Date(s)




  33. Insurance Carriers: To the best of your recollection, identify each health insurance
      carrier which provided you with medical coverage and/or pharmacy benefits for the last
      ten (10) years, and the policy number (attach additional sheets as necessary). For each
      insurance carrier identified in this section, please complete an authorization attached as
      Exhibit A, as explained in Section VI., Paragraph 1.

Insurer   Policyholder Policy         Approximate Dates of          Includes DME Coverage
Carrier                Number         Coverage                      (Yes/No/Don’t Know)




  34. State whether you have been reimbursed or filed a claim for reimbursement under an
      insurance policy with respect to any of the alleged injuries that form the basis of your
      Complaint. If so, for each claim, identify the insurance provider with which you filed a
      claim, the policyholder, the policy number, the claim number, and any reimbursement
      amount.

  35. State whether you have undergone a physical examination in connection with any
      application for life insurance since January 1, 2010. If so, state the following:

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         a. The date the examination was conducted;
         b. The name of the health care provider who conducted the examination;
         c. Whether there is a report of such physical examination;
         d. The name of the life insurance company on whose behalf the examination was
            conducted; and
         e. Whether or not your application for life insurance was denied as a result of the
            physical examination.

  36. List all of the prescription medications or over-the-counter medications you have taken
      for at least three consecutive months in the period during which you used your Device, to
      the best of your recollection, and attach additional sheets as necessary. Please also list
      any medications for any length of time if they were prescribed for your alleged injury.
      For each prescriber identified in this section for a medication prescribed for an alleged
      injury, please complete an authorization attached as Exhibit C, as explained in Section
      VI., Paragraph 3.

Medication       Condition for             Prescriber      Date of First       Medication
Name             Prescription              Name and        Prescription        prescribed for
                                           Address                             alleged injury
                                                                               Yes/No?




  37. Have you ever used tobacco products or smoked marijuana, including cigarettes, e-
      cigarettes (e.g., vaping), cigars, pipes, and/or chewing tobacco/snuff?

         a. If you answered yes, please complete the chart below.

Tobacco Product             Date Started           Date Ceased (or      Frequency of Use
                                                   Ongoing)
Cigarettes
E-Cigarettes/Vape Pens
Cigars
Pipes (including Hookah)
Chewing Tobacco
Snuff
Any other Nicotine
Product
Marijuana




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38. Other Exposure

      a. State whether you are aware of, or have reason to believe, you may have been
         exposed to chemicals or toxins either at your current or former places of work or
         residences.

      b. During your career have you ever to your knowledge worked on or nearby
         dangerous or hazardous materials (e.g., asbestos, chemicals, auto-body paints,
         brake-lining, mining, nuclear reactors, shipyards, etc.)?

      c. If yes, please complete the chart below.

Name of       Address and        Dates of             Type of Business and Position
Employer       Telephone        Employment
                Number




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                                    V.     INJURIES AND DAMAGES

        39. Are you claiming any physical injuries or illness because of the Device?

               a. YES ____ NO _____

               b. If yes, please describe in detail the following:

                    i. For each provider identified in this section, please complete an authorization
                       attached as Exhibit C, as explained in Section VI., Paragraph 3.

Physical Injury Approximately            Is the injury or   When were            Who diagnosed     Where was the
or Illness      when the                 illness            you diagnosed        the injury or     injury or illness
                symptoms began           continuing?        with this            illness?          diagnosed?
                                                            injury or
                                                            illness




        40. Identify the Health Care Provider(s) who treated you for the injuries you claim in this
            case. For each Health Care Provider identified in this section, please complete an
            authorization attached as Exhibit C, as explained in Section VI., Paragraph 3.

        41. Identify whether, before you began using your Respironics Device, you suffered from the
            injury you are alleging in your Complaint as having been caused by your use of a
            Respironics Device.
        42. State whether there is any history in your family of the same type of condition, disease or
            injury you are alleging in your Complaint as having been caused by your use of a
            Respironics Device, and if so, identify the family member and their condition, disease or
            injury.
        43. Are you making a claim for lost wages or lost earning capacity?

        44. State whether you have ever filed a claim (including a claim for worker’s compensation
            or social security disability) or instituted a legal proceeding (including any previous legal
            proceedings regarding a Respironics Device) for any personal injury. If so, state the
            following:

               a.   The date of the claim;
               b.   The nature of the injuries and damages claim;
               c.   The place of filing for each claim or legal proceeding;
               d.   The full names and addresses of all parties to the action;
               e.   The name of the court or other forum;
               f.   The title of the action and case number;

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    g. The current posture of the claim or legal proceedings; and
    h. The final result of each completed claim or legal proceeding, including any
       monetary judgment, settlement, or award.




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                                 VI.     AUTHORIZATIONS

All Litigating Plaintiffs must complete the following authorizations as necessitated by your
responses to the foregoing sections (You may not provide a blank authorization. All authorizations
must be completed and include the addressee):


   1. Authorization for Release of Insurance Records. For each company listed in your response
      to Section IV., Question 31, please provide a completed and signed (but undated)
      Authorization for Release of Insurance Records in the form attached as Exhibit A.

   2. Medicare Authorization Form. If you identified an HCIN in Section III, Question 21,
      please provide a completed and signed (but undated) Medicare Authorization Form in the
      form attached as Exhibit B.

   3. Limited Authorization to Disclose Health Information. For each health care provider,
      physician, prescriber, pharmacy, DME, retailer, hospital, clinic, surgery center, physical
      therapy or rehabilitation center, other healthcare facility, and government agency identified
      in your responses to Questions 8, 28, 29, 31, 32, 36, 39 and 40, please provide a completed
      and signed (but undated) Limited Authorization to Disclose Health Information records in
      the form attached as Exhibit C.

   4. Authorization and Consent to Release Psychotherapy Notes. If you have sought
      professional treatment for your emotional distress you are alleging as a result of your
      device usage, please, provide a completed and signed (but undated) Health Care
      Authorization in the form attached as Exhibit D.

   5. Authorization for the Release of Employment Records. If you are asserting a claim for lost
      wages or a reduction in or loss of earning capacity, please provide a completed and signed
      (but undated) Employment Authorization in the form attached as Exhibit E.

   6. Limited Authorization for Release of Workers’ Compensation Records. If you have applied
      for workers’ compensation, please provide a completed and signed (but undated)
      Authorization for Release of Workers’ Compensation Records for each agency or company
      you submitted your application to in the last ten (10) years in the form attached as Exhibit
      F.

   7. Consent for Release of Social Security Information and Release for Social Security Earning
      Capacity. If you are asserting a claim for lost wages or a reduction in earning capacity,
      please provide a completed and signed (but undated) Consent for Release of Information
      for Social Security records and the Release for Social Security Earning Capacity in the
      forms attached as Exhibit G(1) and G(2). If you are not asserting a wage loss claim or a
      reduction in lost earning capacity, you are not required to provide the Social Security
      Authorizations.




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8. Tax Return 4506 Form. If you are asserting a claim for lost wages or a reduction in earning
   capacity, please provide a completed and signed (but undated) IRS Form 4506 attached as
   Exhibit H for each year identified. If you are not asserting a wage loss claim or a reduction
   in lost earning capacity, you are not required to provide IRS Form 4506.

9. Limited Authorization to Disclose Health Information. Please provide a completed and
   signed (but undated) Limited Authorization to Disclose Health Information in the form
   attached as Exhibit I, addressed to Philips RS North America LLC, only, in connection
   with record collection from Care Orchestrator, Dream Mapper and/or EncoreAnywhere.
   All plaintiffs must complete a signed but undated Exhibit I.




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                              VII.    RELEVANT DOCUMENTS

REQUEST NO. 1: Produce all non-privileged documents you reviewed that assisted you in the
preparation of your responses to this PFS.

REQUEST NO. 2: Produce all medical records and/or documents relating to the use of the
Respironics Device(s) from any Health Care Provider who treated you in the past ten (10) years
and who treated you for any disease, condition, or symptom referred to in any of your responses
to the questions above and concerning any condition you claim is related to the use of the
Respironics Device(s), including, but not limited to, all imaging studies of any part of your body,
and laboratory, pathology, and biopsy reports, that relate in any manner to the diagnosis, treatment,
care, or management of your condition and the injuries alleged in your Complaint.

REQUEST NO. 3: Produce all documents you reviewed, utilized or relied on in responding to
the PFS.

REQUEST NO. 4: Produce all documents and communications regarding your Respironics
Device(s) and/or your Other Device(s), including but not limited to documents regarding any
modifications or changes made to your Respironics Device(s).

REQUEST NO. 5: Produce all documents and communications regarding your insurance
coverage from the date you acquired your Respironics Device(s) to the present.

REQUEST NO. 6: Produce all documents and communications regarding any application for life
insurance you submitted from January 1, 2010 to the present, including but not limited to any
reports of physical examinations conducted therewith and any approval or denial notification from
the insurance company.

REQUEST NO. 7: Produce all documents and communications for any claim (including a claim
for worker’s compensation or social security disability) or legal proceeding for any personal injury
you filed from January 1, 2010 to the present.

REQUEST NO. 8: Produce all documents regarding the cleaning (if any) of your Respironics
Device(s), including but not limited to all documents reflecting any products used to clean your
Respironics Device, the frequency of the cleaning of your Respironics Device(s), and any
communication with any person regarding the cleaning of a Respironics Device.

REQUEST NO. 9: Produce all documents regarding any particulate or dark matter in your
Respironics Device(s), including but not limited to any photos or videos of your Respironics
Device(s) and any other evidence that you believe shows that the foam in your Respironics
Device(s) actually degraded.

REQUEST NO. 10: Produce all documents regarding any diagnosed medical conditions or
injuries you suffered within the last 20 years, and any medications or treatments that you have
been prescribed within the last 20 years, involving the lungs, throat, nose, mouth, respiratory tract,
or any other part of the body that you claim was injured from use of a Respironics Device.



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REQUEST NO. 11: If you are seeking lost wages, all paystubs and employment contracts from
three years prior to the date for which you are seeking lost wages, through the last day for which
you are seeking lost wages.

REQUEST NO. 12: Produce all documents regarding the Philips RS North America LLC recall.




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                                   VIII.     DECLARATION

       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury under the laws of the
United States that (i) all the information provided in this Plaintiff Fact Sheet is true and correct to
the best of my knowledge; (ii) that I have supplied all the documents requested in Section VII
above to the extent that such documents are in my possession, custody, or control, or in the
possession, custody, or control of my lawyers; and (iii) that I have supplied the authorizations
attached to this declaration.


Date: _________________________________________________________________________


Signature: _____________________________________________________________________


Printed Name: __________________________________________________________________


Location: _____________________________________________________________________




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                         Exhibit A
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            AUTHORIZATION FOR RELEASE OF INSURANCE RECORDS

To:
       Name


       Address


        City, State and Zip Code

This will authorize you to furnish copies of all forms regarding insurance claims applications and
benefits and all medical, health, hospital, physicians, nursing or allied health professional
reports, records, notes or invoices and bills, which may be in your possession.

                     _____________________________________________
                                     Name of Insured

 whose date of birth is ___________________ and whose social security number is: _____________

      You are authorized to release the above records to the following representatives of
defendants in the above-entitled matter, who have agreed to pay reasonable charges made
by you to supply copies of such records.

Litigation Management Inc.,
Name of Representative

Third Party Record Requestor
Representative Capacity (e.g., attorney, records requestor, agent, etc.)
PO Box 241370
Street Address
Cleveland, OH 44124
City, State and Zip Code

       This authorization does not authorize you to disclose anything other than documents
and records to anyone.

       This authorization shall be considered as continuing in nature and is to be given fuli
force and effect to release information of any of the foregoing learned or determined after the
date hereof, if is expressly understood by the undersigned and you are authorized to accept a
copy or photocopy of this authorization with the same validity as through the original had
been presented to you.


________________________________________                ___________________________
Name/Signature                                          Date
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                          Exhibit B
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                                        MEDICARE AUTHORIZATION FORM
                                                      **ALL SECTIONS REQUIRED**

SECTION A: BENEFICIARY INFORMATION
Enter benefciary name as it appears on Medicare card.
First Name:                                        Middle Name:                                 Last Name:


Date of Birth (mm/dd/yyyy)                         Medicare Identifcation Number:


Address:


City:                                                                               State:                   Zip code:



SECTION B: RECORD DETAILS DEFINITION
Medicare will only disclose the claim information identifed below for the individual in Section A.
                                Release all records to date
Select one option:
                                Release records in timeframe from start date _____________________ to end date: _____________________

                                 Include all records
NY residents only:
                                Exclude information about alcohol and drug abuse, mental health treatment, and HIV
Indicate whether authorization release is for a one-time disclosure, or Identify a future date or event when the authorization will expire.
                                One-time disclosure
Select one option:              Expiration upon specifed date ________________________________
                                Expiration upon specifed event ___________________________________________________________________

SECTION C: RELEASE INFORMATION TO
Identify the name, address and contact information of the person and/or organization to whom you want Medicare to disclose
the claim records. Medicare will only release claim records to those listed.
   Release claim records to benefciary at mailing address above.

Organization/Individual 1 Name                                                      Recipient 1 Email Address

Litigation Management Inc.,
Recipient 1 Mailing Address:

PO Box 241370, Cleveland, OH 44124
SECTION D: PURPOSE FOR REQUEST
This section helps Medicare understand the reason or intent for use for this record request.
   At the request of the individual                                           Litigation

SECTION E: AUTHORIZATION AGREEMENT
I authorize Medicare to disclose claim records to the person(s) or organization(s) documented in Section C. I understand that
these claim records may be re-disclosed by the recipient and may no longer be protected by law.
I understand I have the right to revoke this authorization at any time, in writing, except to the extent that Medicare has
already acted based on my permission.
I understand that signing this authorization is voluntary. Treatment, payment, enrollment in a health plan or eligibility for
benefts will not be conditioned on my authorization of this disclosure.
Signature of Benefciary or Representative Authorized by Law:                                                  Date Signed:


Legal Role of Representative (Requires Additional Documentation):




                                                                                                                                              1
                                               Reset All                           Check Fields
           Case 2:21-mc-01230-JFC Document 2768-1 Filed 05/09/24 Page 88 of 114




  1.

                                                                                                         2.
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  4.
                                                                                                         5.

  6.


                                                                                                         7.



1. BENEFICIARY INFORMATION                               5. SPECIFY ORGANIZATION TO RELEASE TO
  Add beneficiary name and ID number as printed            Specify individual(s) to whom records should be
  on Medicare identification card, date of birth, and      released. First name, last name, and address are
  address.                                                 required. Additional contact information provided
2. RECORD TIMEFRAME                                        will be used only to follow up on questions related
  Indicate date range of records to release, or select     to your application submission.
  “release all records.”                                 6. SELECT REASON FOR REQUEST
3. NY RESIDENTS: EXCLUSIONS OPT-IN                         Select purpose for record release request to help
  (NY residents only) Specify whether to exclude           Medicare understand how records will be used.
  records related to alcohol and drug abuse, mental      7. BENEFICIARY SIGNATURE
  health treatment, and HIV.                               Signature and date by beneficiary or authorized
                                                           representative in acceptance of HIPAA clauses
4. SELECT EXPIRATION DATE OR EVENT
                                                           required to release information. If form not signed
  Indicate date or event information release
                                                           by beneficiary, attach notarized Power of Attorney
  authorization will expire, if you are not requesting
                                                           (living individual), or Letters Testamentary and/ or
  a one-time disclosure.
                                                           Letters of Administration from the court (deceased
                                                           individual).




                                                                                                                  2
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                          Exhibit C
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              LIMITED AUTHORIZATION TO DISCLOSE HEALTH INFORMATION
     (Pursuant to the Health Insurance Portability and Accountability Act "HIPAA" of 4/14/03)


     TO:

     Patient Name:

     DOB:

     SSN:

     I,                                                            , hereby authorize you to release and
     furnish to: Litigation Management Inc., PO Box 241370, Cleveland, OH 44124 COPIES ONLY
     of the following information:
     *       All medical records, including inpatient, outpatient, and emergency room treatment, all
     clinical charts, reports, documents, correspondence, test results, statements,
     questionnaires/histories, electronic medical data including information from Care Orchestrator
     and/or other databases, office and doctor's handwritten notes, and records received by other
     physicians. Said medical records may include all information regarding AIDS and HIV status.
     *      All reports of autopsy, laboratory, histology, cytology, pathology, radiology, CT Scan,
     MRI, echocardiogram and cardiac catheterization reports.
     *       All radiology films, mammograms, myelograms, CT scans, photographs, bone scans,
     pathology/cytology/histology/autopsy/immunohistochemistry specimens, cardiac catheterization
     videos/CDs/films/reels, and echocardiogram videos.
     *       All pharmacy/prescription records including NDC numbers and drug information
     handouts/monographs.
     *       All billing records including all statements, itemized bills, and insurance records.

1.   To my medical provider: this authorization is being forwarded by, or on behalf of, attorneys for
     the defendants and has been approved by the Court supervising this litigation. This authorization
     is for the sole purpose of allowing copies of my medical records to be provided to the defendants
     in this litigation. It does not allow discussions of my medical history, care, treatment, diagnosis,
     prognosis, information revealed by or in the medical records, or any other matter bearing on my
     medical or physical condition.

2.   I understand that the information in my health record may include information relating to
     sexually transmitted disease, acquired immunodeficiency syndrome (AIDS), or human
     immunodeficiency virus (HIV). It may also include information about treatment for alcohol
     and drug abuse.

3.   I understand that I have the right to revoke this authorization at any time. I understand that if I
     revoke this authorization I must do so in writing and present my written revocation to the health
     information management department. I understand the revocation will not apply to information
     that has already been released in response to this authorization. I understand the revocation will
     not apply to my
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     insurance company when the law provides my insurer with the right to contest a claim under my
     policy. Unless otherwise revoked, this authorization will expire in one year.

4.   I understand that authorizing the disclosure of this health information is voluntary. I can refuse to
     sign this authorization. I need not sign his form in order to assure treatment. I understand I may
     inspect or copy the information to be used or disclosed as provided in CFR 164.524. I understand
     that any disclosure of information carries with it the potential for an unauthorized re-disclosure
     and the information may not be protected by federal confidentiality rules. If 1 have questions
     about disclosure of my health information, I can contact the releaser indicate above.

5.   A notarized signature is not required. CFR 164.508. A copy of this authorization may be used in
     place of an original.



     Print Name:                                                           (plaintiff/representative)

     Signature:
                                                                   Date
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                         Exhibit D
          Case 2:21-mc-01230-JFC Document 2768-1 Filed 05/09/24 Page 93 of 114
THIS SHOULD ONLY BE COMPLETED IF YOU HAVE SOUGHT PROFESSIONAL TREATMENT FOR
 YOUR EMOTIONAL DISTRESS YOU ARE ALLEGING AS A RESULT OF YOUR DEVICE USAGE.


          AUTHORIZATION AND CONSENT TO RELEASE PSYCHOTHERAPY NOTES

      Name of Individual:

      Social Security Number:

      Date of Birth:

      Provider Name: __________________________________________________________

      TO:    All physicians, hospitals, clinics and institutions, pharmacists and other healthcare
             providers;

             The Veteran's Administration and all Veteran's Administration hospitals, clinics,
             physicians and employees;

             Social Security Administration; and

             Department of the Treasury/Internal Revenue Service;

             Open Records, Administrative Specialist, Department of Workers' Claims;

             All employers or other persons, firms, corporations, schools and other educational
             institutions;

             The undersigned individual herby authorizes each entity included in any of the above
      categories to furnish and disclose to Litigation Management, Inc. PO Box 241370, Cleveland,
      OH 44124 and its authorized representatives, with true and correct copies of all "psychotherapy
      notes", as such term is defined by the Health Insurance Portability and Accountability Act, 45
      CFR §164-501. Under HIPAA, the term "psychotherapy notes" means notes recorded (in any
      medium) by a health care provider who is a mental health professional documenting or analyzing
      the contents of conversation during a private counseling session or a group, joint or family
      counseling, session, and that are separated from the rest of the individual's record. This
      authorization does not authorize ex parte communication concerning same.

            This authorization provides for the disclosure of the above-named patient's protected
             health information for purposes of the following litigation matter:



            The undersigned individual is hereby notified and acknowledges that any health care
             provider or health plan disclosing the above requested information may not condition
             treatment, payment, enrollment or eligibility for benefits on whether the individual signs
             this authorization.
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       The undersigned individual is hereby notified and acknowledges that he or she may
        revoke this authorization by providing written notice to either Litigation Management
        (PO Box 241370, Cleveland, OH 44124) and/or to one or more entities listed in the above
        categories, except to the extent that any such entity has taken action in reliance on this
        authorization.

       The undersigned is hereby notified and acknowledges that he or she is aware of the
        potential that protected health information disclosed and furnished to the recipient
        pursuant to this authorization is subject to redisclosure by the recipient for the purposes
        of this litigation in a manner that will not be protected by the Standards for the Privacy of
        Individually Identifiable Health Information contained in the HEPAA regulations (45
        CFR §§164.500-164.534).

       The undersigned is hereby notified that he/she is aware that any and all protected health
        information disclosed and furnished to Litigation Management, Inc, pursuant to this
        authorization will be shared with any and all co-defendants in the matter of
                                                                                               and is
        subject to redisclosure by the recipient for the purposes of this litigation in a manner that
        will not be protected by the Standards for the Privacy of Individually Identifiable Health
        Information contained in the HIPAA regulations (45 CFR §§164.500-164.534).

       A photocopy of this authorization shall be considered as effective and valid as the
        original, and this authorization will remain in effect until the later of: (i) the date of
        settlement or final disposition of
        (ii) one (1) year after the date of signature of the undersigned below.

I have carefully read and understand the above and do hereby expressly and voluntarily
authorize the disclosure of all of my above information to Litigation Management, Inc. PO
Box 241370, Cleveland, OH 44124, and its authorized representatives, by any entities
included in the categories listed above.

Date:
                                                Signature of Individual or Individual's
                                                Representative

Printed Name of Individual's Representative (If applicable)


Relationship of Representative to Individual (If applicable)


This authorization is designed to be in compliance with the Health Insurance Portability and
Accountability Act, and the regulations promulgated thereunder, 45 CFR Parts 160 and 164
(collectively, "HIPAA").
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                         Exhibit E
        Case 2:21-mc-01230-JFC Document 2768-1 Filed 05/09/24 Page 96 of 114
THIS SHOULD ONLY BE COMPLETED IF YOU ARE ASSERTING A CLAIM FOR LOST WAGES OR
                   A REDUCTION IN OR LOSS OF EARNING CAPACITY.


      HIPAA COMPLIANT AUTHORIZATION FORM PURSUANT TO 45 CFR 164.508
                      EMPLOYMENT AUTHORIZATION

    TO: __________________________________________________________________
         Name of Employer


           Address, City State and Zip Code

    RE:    Employee Name: ______________________________ aka _________________

           Date of Birth: ________________Social Security Number: _________________

           Address:


          I authorize the disclosure of my employment records including any medical
    information protected by HIPAA, 45 CFR 164.508, for the purpose of review and
    evaluation in connection with a legal claim. I expressly request that all entities identified
    above disclose full and complete records including the following:

           This will authorize you to furnish copies of alt applications for employment;
           resumes; records of all positions held; job descriptions of positions held; wage
           and income statements and/or compensation records; wage increases and
           decreases; performance evaluations, reviews and reports; transfers, statements and
           comments of fellow employees; all documents relating to discipline including
           warnings, reprimands, suspensions, terminations, and all other forms of
           discipline; attendance records; W-2s, worker's compensation files; all medical
           records, x- rays and test results; any physical examination records; all documents
           relating to my absences, illnesses and injuries; any records pertaining to claims
           made relating to health, disability or accidents in which 1 was involved including
           correspondence, reports, claim forms, questionnaires, records of payments made
           to me or on my behalf; and any other records relating to my employment and/or in
           my personnel file.
           Information about HIV/AIDS and alcohol/substance abuse may be disclosed.

    I authorize you to release the information to;


    Name (Records Requestor)


    Street Address        City    State and Zip Code

    I intend that this authorization shall be continuing in nature. If information responsive to this
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authorization is created, learned or discovered at any time in the future, either by you or
another party, you must produce such information to the Records Requestor at that time.

I acknowledge the right to revoke this authorization by writing to you at the above referenced
address. However, I understand that any actions already taken in reliance on this authorization
cannot be reversed, and my revocation will not affect those actions. I understand that the
entity to which this authorization is directed may not condition treatment, payment,
enrollment or eligibility benefits on whether or not i sign the authorization. Any facsimile,
copy or photocopy of the authorization shall authorize you to release the records herein.

This authorization expires                                                             or at the conclusion
of the case, whichever occurs first.


Signature of Employee or Personal Representative Date Name of Employee or Personal Representative



Description of Personal Representative's Authority to Sign for Employee (attach documents that show authority)
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                         Exhibit F
            Case 2:21-mc-01230-JFC Document 2768-1 Filed 05/09/24 Page 99 of 114
To be executed only if you have filed a claim for workers compensation in the last ten (10)
years.

        HIPAA COMPLIANT AUTHORIZATION FORM PURSUANT TO 45 CFR 164.508
                  WORKERS’ COMPENSATION AUTHORIZATION

      TO: __________________________________________________________________


      RE:    Name: ______________________________ aka _________________

             Date of Birth: ________________Social Security Number: _________________

             Address:

             I authorize the disclosure of my Workers’ Compensation records including any
      medical information protected by HIPAA, 45 CFR 164.508, for the purpose of review
      and evaluation in connection with a legal claim. I expressly request that all entities
      identified above disclose full and complete records including the following:

             all workers' compensation claims, including claim petitions, judgments, findings, notices
             of hearings, hearing records, transcripts, decisions and orders; all depositions and reports
             of witnesses and expert witnesses; employer's accident reports; all other accident, injury,
             or incident reports; all medical records; records of compensation payment made;
             investigatory reports and records; applications for employment; records of all positions
             held; job descriptions of any positions held; salary records; performance evaluations and
             reports; statements and comments of fellow employees; attendance records; all
             physicians', hospital, medical, health reports; physical examinations; records relating to
             health or disability insurance claims, including correspondence, reports, claim forms,
             questionnaires, records of payments made to physicians, hospitals, and health institutions
             or professionals; statements of account, itemized bills or invoices; and any other records
             relating to the above-named individual. Copies, NOT originals, of all x-rays, CT scans,
             MRI films, photographs, and any other radiological, nuclear medicine, or radiation
             therapy films and of any corresponding reports. I expressly request that all covered
             entities under HIPAA identified above disclose full and complete protected medical
             information spanning the time period of _______________ to ____________________.

      I authorize you to release the information to Litigation Management Inc., P.O. Box 241370,
      Cleveland, OH 44124.

      I intend that this authorization shall be continuing in nature. If information responsive to this
      authorization is created, learned or discovered at any time in the future, either by you or
      another party, you must produce such information to the Records Requestor at that time.

      I acknowledge the right to revoke this authorization by writing to you at the above referenced
      address. However, I understand that any actions already taken in reliance on this authorization
      cannot be reversed, and my revocation will not affect those actions. I understand that the
      entity to which this authorization is directed may not condition treatment, payment,
      enrollment or eligibility benefits on whether or not I sign the authorization. I further
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acknowledge that information about HIV/AIDS and alcohol/substance abuse may be
disclosed. I also understand that the covered entity to whom this authorization is directed may
not condition treatment, payment, enrollment or eligibility benefits on whether or not the
individual signs the authorization. Any facsimile, copy or photocopy of the authorization
shall authorize you to release the records herein.

This authorization expires                                                 or at the conclusion
of the case, whichever occurs first.


Print Name: ____________________________________ (plaintiff/representative)



Signature: ______________________________________                  Date: _________________
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                                      Exhibit G(1)

To be executed only if you have filed a claim for social security disability and are asserting a
claim for lost wages or a reduction in earning capacity.
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Please feel free to contact Litigation Management, Inc. directly at (888) 803 - 8706 with any questions.

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         transcripts, correspondence, findings, notice of hearings, hearing records, orders, depositions, reports; witnesses, medical reviewers and experts consultative examination reports,
        current developments/temporary, non-disability development and documentation, medical records and determination records.

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         Case 2:21-mc-01230-JFC Document 2768-1 Filed 05/09/24 Page 104 of 114




                                     Exhibit G(2)

To be executed only if you are asserting a claim for lost wages or a reduction in earning capacity.
            Case 2:21-mc-01230-JFC Document 2768-1 Filed 05/09/24 Page 105 of 114
Form SSA-7050-F4 (02-2021)
Discontinue Prior Editions                                                                                   Page 1 of 4
Social Security Administration                                                                        OMB No. 0960-0525
               REQUEST FOR SOCIAL SECURITY EARNING INFORMATION
*Use This Form If You Need
                                                                         DO NOT USE THIS FORM TO REQUEST
1. Certified/Non-Certified Detailed Earnings Information                     YEARLY EARNINGS TOTALS
   Includes periods of employment or self-employment
   and the names and addresses of employers.                            Yearly earnings totals are free to the public
                                                                             if you do not require certification.
2. Certified Yearly Totals of Earnings
   Includes total earnings for each year but does not                    To obtain FREE yearly totals of earnings,
   include the names and addresses of employers.                       visit our website at www.ssa.gov/myaccount.



                                                 Privacy Act Statement
                                      Collection and Use of Personal Information

Section 205 of the Social Security Act, as amended, allows us to collect this information. In addition, the Budget and
Accounting Act of 1950 and Debt Collection Act of 1982 authorize us to collect credit card information, if you choose to
pay for the earnings information you have requested with a credit card. Furnishing us this information is voluntary.
However, failing to provide all or part of the information may prevent us from processing your request.

We will use the information to identify your records, process your request, and send the earnings information you request.
We may also share the information for the following purposes, called routine uses:

   1. To the Internal Revenue Service (IRS) for auditing SSA's compliance with the safeguard provisions of the Internal
      Revenue Code of 1986, as amended.

   2. To contractors and other Federal agencies, as necessary, for the purpose of, assisting the Social Security
      Administration (SSA) in the efficient administration of its programs.

   3. To banks enrolled in the Treasury credit card network to collect a payment or debt when the individual has given
      his/her credit card number for this purpose.

In addition, we may share this information in accordance with the Privacy Act and other Federal laws. For example,
where authorized, we may use and disclose this information in computer matching programs, in which our records are
compared with other records to establish or verify a person’s eligibility for Federal benefit programs and for repayment of
incorrect or delinquent debts under these programs.

A list of additional routine uses is available in our Privacy Act System of Records Notices (SORNs) 60-0059, entitled
Earnings Recording and Self-Employment Income System, 60-0090, entitled Master Beneficiary Record, 60-0224,
entitled SSA-Initiated Personal Earnings and Benefit Estimate Statement, and 60-0231, entitled Financial Transactions of
SSA Accounting and Finance Offices. Additional information and a full listing of all our SORNs are available on our
website at www.socialsecurity.gov/foia/bluebook.


Paperwork Reduction Act Statement - This information collection meets the requirements of 44 U.S.C. § 3507, as
amended by section 2 of the Paperwork Reduction Act of 1995. You do not need to answer these questions unless we
display a valid Office of Management and Budget control number. We estimate that it will take about 11 minutes to read
the instructions, gather the facts, and answer the questions. Send only comments relating to our time estimate above
to: SSA, 6401 Security Blvd, Baltimore, MD 21235-6401.
              Case 2:21-mc-01230-JFC Document 2768-1 Filed 05/09/24 Page 106 of 114
Form SSA-7050-F4 (02-2021)                                                                                       Page 2 of 4
                 REQUEST FOR SOCIAL SECURITY EARNING INFORMATION
1. Provide your name as it appears on your most recent Social Security card or the name of the individual whose
   earnings you are requesting.

First Name:                                                                                                 Middle Initial:

Last Name:

Social Security Number (SSN)                                                One SSN per request

Date of Birth:                                                 Date of Death:

Other Name(s) Used
Maiden Name
2. What kind of earnings information do you need? (Choose ONE of the following types of earnings or SSA must return
    this request.)
   Itemized Statement of Earnings $92.00
                                                                         Year(s) Requested:                 to
   (Includes the names and addresses of employers)
   If you check this box, tell us why you need this                      Year(s) Requested:                 to
   information below.
                                                                                 Check this box if you want the earnings
                                                                                 information CERTIFIED for an additional
                                                                                 $30.00 fee.

   Certified Yearly Totals of Earnings $30.00
                                                                         Year(s) Requested:                 to
   (Does not include the names and addresses of
   employers)Yearly earnings totals are FREE to the public if you                                           to
                                                                         Year(s) Requested:
   do not require certification. To obtain FREE yearly totals of
   earnings, visit our website at www.ssa.gov/myaccount.
3. If you would like this information sent to someone else, please fill in the information below.
   I authorize the Social Security Administration to release the earnings information to:

   Name          Ô·¬·¹¿¬·±² Ó¿²¿¹»³»²¬ô ×²½ò

   Address           ÐÑ Þ±¨ îìïíéð                                                                           State ÑØ

   City              Ý´»ª»´¿²¼                                                                    ZIP Code ììïîì
4. I am the individual to whom the record pertains (or a person authorized to sign on behalf of that individual).
   I declare under penalty of perjury that I have examined all the information on this form, and on any accompanying
   statements or forms, and it is true and correct to the best of my knowledge.
                                                                               SSA must receive this form within 120 days
      Signature AND Printed Name of Individual or Legal Guardian               from the date signed
                                                                                  Date

Relationship (if applicable, you must attach proof)                                Daytime Phone:

Address                                                                                                      State

City                                                                                          ZIP Code
Witnesses must sign this form ONLY if the above signature is by marked (X). If signed by mark (X), two witnesses to the
signing who know the signee must sign below and provide their full addresses. Please print the signee's name next to the
mark (X) on the signature line above.
1. Signature of Witness                                             2. Signature of Witness

Address (Number and Street, City, State and ZIP Code)               Address (Number and Street, City, State and ZIP Code)
           Case 2:21-mc-01230-JFC Document 2768-1 Filed 05/09/24 Page 107 of 114
Form SSA-7050-F4 (02-2021)                                                                                  Page 3 of 4
              REQUEST FOR SOCIAL SECURITY EARNING INFORMATION
                                         INFORMATION ABOUT YOUR REQUEST
          You may use this form to request earnings information for one ONE Social Security Number (SSN)
             How do I get my earnings statement?                    Is There A Fee For Earnings Information?

   You must complete the attached form. Tell us the             Yes. We charge a $92.00 fee for providing information
   specific years of earnings you want, type of earnings        for purposes unrelated to the administration of our
   record, and provide your mailing address. The itemized       programs.
   statement of earnings will be mailed to ONE address,
   therefore, if you want the statement sent to someone         1. Certified or Non-Certified Itemized Statement of
   other than yourself, provide their address in section 3.         Earnings
   Mail the completed form to SSA within 120 days of                In most instances, individuals request Itemized
   signature. If you sign with an "X", your mark must be            Statements of Earnings for purposes unrelated to
   witnessed by two impartial persons who must provide              our programs such as a private pension plan or
   their name and address in the spaces provided.                   personal injury suit. Bulk submitters may email
   Select ONE type of earnings statement and include the            OCO.Pension.Fund@ssa.gov for an alternate
   appropriate fee.                                                 method of obtaining itemized earnings information.

   1. Certified/Non-Certified Itemized Statement of                 We will certify the itemized earnings information for
      Earnings                                                      an additional $30.00 fee. Certification is usually not
       This statement includes years of self-employment or          necessary unless you are specifically requested to
       employment and the names and addresses of                    obtain a certified earnings record.
       employers.
                                                                    Sometimes, there is no charge for itemized earnings
   2. Certified Yearly Totals of Earnings                           information. If you have reason to believe your
       This statement includes the total earnings for each          earnings are not correct (for example, you have
       year requested but does not include the names and            previously received earnings information from us
       addresses of employers.                                      and it does not agree with your records), we will
                                                                    supply you with more detail for the year(s) in
   If you require one of each type of earnings statement,           question. Be sure to show the year(s) involved on
   you must complete two separate forms. Mail each form             the request form and explain why you need the
   to SSA with one form of payment attached to each                 information. If you do not tell us why you need the
   request.                                                         information, we will charge a fee.
             How do I get someone else's earnings
                          statement?                            2. Certified Yearly Totals of Earnings
                                                                    We charge $30.00 to certify yearly totals of
   You may get someone else's earnings information if you           earnings. However, if you do not want or need
   meet one of the following criteria, attach the necessary         certification, you may obtain yearly totals FREE of
                                                                    charge at www.ssa.gov/myaccount. Certification is
   documents to show your entitlement to the earnings
   information and include the appropriate fee.                     usually not necessary unless you are advised
                                                                    specifically to obtain a certified earnings record.
   1. Someone Else's Earnings
       The natural or adoptive parent or legal guardian of a                   Method of Payment
       minor child, or the legal guardian of a legally          This Fee Is Not Refundable. DO NOT SEND CASH.
       declared incompetent individual, may obtain
       earnings information if acting in the best interest of       You may pay by credit card, check or money order.
       the minor child or incompetent individual. You must          • Credit Card Instructions
       include proof of your relationship to the individual             Complete the credit card section on page 4 and
       with your request. The proof may include a birth                 return it with your request form.
       certificate, court order, adoption decree, or other
       legally binding document.                                    • Check or Money Order Instructions
                                                                        Enclose one check or money order per request
   2. A Deceased Person's Earnings                                      form payable to the Social Security
       You can request earnings information from the                    Administration and write the Social Security
       record of a deceased person if you are:                          number in the memo.
       • The legal representative of the estate;
       • A survivor (that is, the spouse, parent, child,          How long will it take SSA to process my request?
         divorced spouse of divorced parent); or
       • An individual with a material interest (e.g.,              Please allow SSA 120 days to process this request.
         financial) who is an heir at law, next of kin,             After 120 days, you may contact 1-800-772-1213 to
         beneficiary under the will or donee of property of         leave an inquiry regarding your request.
         the decedent.

       You must include proof of death and proof of your
       relationship to the deceased with your request.
            Case 2:21-mc-01230-JFC Document 2768-1 Filed 05/09/24 Page 108 of 114


Form SSA-7050-F4 (02-2021)                                                                                Page 4 of 4

               REQUEST FOR SOCIAL SECURITY EARNING INFORMATION
     i Where do I send my complete request?
      Mail the completed form, supporting documentation, If using private contractor such as FedEx mail form,
      and applicable fee to:                             supporting documentation, and application fee to:
              Social Security Administration                      Social Security Administration
              P.O. Box 33011                                      P.O. Box 33011
              Baltimore, Maryland 21290-33011                     Baltimore, Maryland 21290-33011

     i How much do I have to pay for an Itemized Statement of Earnings?

       Non-Certified Itemized Statement of Earnings                   Certified Itemized Statement of Earnings
                           $92.00                                                      $122.00
     i How much do I have to pay for Certified Yearly Totals of Earnings?
     Certified yearly totals of earnings cost $30.00. You may obtain non-certified yearly totals FREE of charge at
     www.ssa.gov/myaccount. Certification is usually not necessary unless you are specifically asked to obtain a
     certified earnings record.
                                  YOU CAN MAKE YOUR PAYMENT BY CREDIT CARD
 As a convenience, we offer you the option to make your payment by credit card. However, regular credit card rules will
         apply. You also pay by check or money order. Make check payable to Social Security Administration.
                                                                    Visa                          American Express
CHECK ONE
                                                                    MasterCard                    Discover

Credit Card Holder's Name
(Enter the name from the credit card)                                   First Name, Middle Initial, Last Name


Credit Card Holder's Address                                                        Number & Street


                                                                               City, State, & ZIP Code

Daytime Telephone Number
                                                                 Area Code
Credit Card Number

Credit Card Expiration Date
                                                                                       (MM/YY)
Amount Charged
See above to select the correct fee for your request.
Applicable fees are $30.00, $92.00, or $122.00.              $
SSA will return forms without the appropriate fee.

Credit Card Holder's Signature
                                                                    Date

                                                             Authorization

       DO NOT WRITE IN THIS SPACE                            Name                                        Date
            OFFICE USE ONLY
                                                             Remittance Control #
         Case 2:21-mc-01230-JFC Document 2768-1 Filed 05/09/24 Page 109 of 114




                                     Exhibit H

To be executed only if you are asserting a claim for lost wages or a reduction in earning capacity.
                           Case 2:21-mc-01230-JFC Document 2768-1 Filed 05/09/24 Page 110 of 114

Form      4506                                                Request for Copy of Tax Return
(Novmeber 2021)                                  ▶ Do not sign this form unless all applicable lines have been completed.                                 OMB No. 1545-0429
                                                        ▶ Request may be rejected if the form is incomplete or illegible.
Department of the Treasury
                                                      ▶ For more information about Form 4506, visit www.irs.gov/form4506.
Internal Revenue Service

Tip: Get faster service: Online at www.irs.gov, Get Your Tax Record (Get Transcript) or by calling 1-800-908-9946 for specialized assistance. We
have teams available to assist. Note: Taxpayers may register to use Get Transcript to view, print, or download the following transcript types: Tax
Return Transcript (shows most line items including Adjusted Gross Income (AGI) from your original Form 1040-series tax return as filed, along with
any forms and schedules), Tax Account Transcript (shows basic data such as return type, marital status, AGI, taxable income and all payment types),
Record of Account Transcript (combines the tax return and tax account transcripts into one complete transcript), Wage and Income Transcript
(shows data from information returns we receive such as Forms W-2, 1099, 1098 and Form 5498), and Verification of Non-filing Letter (provides
proof that the IRS has no record of a filed Form 1040-series tax return for the year you request).
    1a Name shown on tax return. If a joint return, enter the name shown first.                            1b First social security number on tax return,
                                                                                                              individual taxpayer identification number, or
                                                                                                              employer identification number (see instructions)


    2a If a joint return, enter spouse’s name shown on tax return.                                         2b Second social security number or individual
                                                                                                              taxpayer identification number if joint tax return


    3 Current name, address (including apt., room, or suite no.), city, state, and ZIP code (see instructions)



    4 Previous address shown on the last return filed if different from line 3 (see instructions)



   5 If the tax return is to be mailed to a third party (such as a mortgage company), enter the third party’s name, address, and telephone number.
Litigation Management Inc, 6000 Parkland Blvd, Mayfield Heights, OH 44124 888-803-8706


Caution: If the tax return is being sent to the third party, ensure that lines 5 through 7 are completed before signing. (see instructions).
  6   Tax return requested. Form 1040, 1120, 941, etc. and all attachments as originally submitted to the IRS, including Form(s) W-2,
       schedules, or amended returns. Copies of Forms 1040, 1040A, and 1040EZ are generally available for 7 years from filing before they are
       destroyed by law. Other returns may be available for a longer period of time. Enter only one return number. If you need more than one
       type of return, you must complete another Form 4506. ▶                             1040
          Note: If the copies must be certified for court or administrative proceedings, check here .                .   .   .   .   .   .   .   .    .       .   .   .   .   .   ✔

    7     Year or period requested. Enter the ending date of the tax year or period using the mm/dd/yyyy format (see instructions).
                       /        /                                   /       /                          /         /                                        /           /

                       /        /                                   /       /                          /         /                                        /           /

    8     Fee. There is a $43 fee for each return requested. Full payment must be included with your request or it will
          be rejected. Make your check or money order payable to “United States Treasury.” Enter your SSN, ITIN,
          or EIN and “Form 4506 request” on your check or money order.
     a    Cost for each return . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                  $
      b   Number of returns requested on line 7 . . . . . . . . . . . . . . . . . . . . . .
      c   Total cost. Multiply line 8a by line 8b . . . . . . . . . . . . . . . . . . . . . .                                         $
    9     If we cannot find the tax return, we will refund the fee. If the refund should go to the third party listed on line 5, check here .                     .   .   .   .   ✔

Caution: Do not sign this form unless all applicable lines have been completed.
Signature of taxpayer(s). I declare that I am either the taxpayer whose name is shown on line 1a or 2a, or a person authorized to obtain the tax return
requested. If the request applies to a joint return, at least one spouse must sign. If signed by a corporate officer, 1 percent or more shareholder, partner,
managing member, guardian, tax matters partner, executor, receiver, administrator, trustee, or party other than the taxpayer, I certify that I have the authority to
execute Form 4506 on behalf of the taxpayer. Note: This form must be received by IRS within 120 days of the signature date.
✔    Signatory attests that he/she has read the attestation clause and upon so reading
     declares that he/she has the authority to sign the Form 4506. See instructions.                                                 Phone number of taxpayer on line
                                                                                                                                     1a or 2a
             ▲ ▲ ▲ ▲




                       Signature (see instructions)                                                  Date
Sign
Here                   Print/Type name                                                              Title (if line 1a above is a corporation, partnership, estate, or trust)


                       Spouse’s signature                                                            Date


                       Print/Type name
For Privacy Act and Paperwork Reduction Act Notice, see page 2.                                       Cat. No. 41721E                                Form 4506 (Rev. 11-2021)
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Form 4506 (Rev. 11-2021)                                                                                                                                            Page 2
                                                                                                                      Individuals. Copies of jointly filed tax returns may
Section references are to the Internal Revenue Code       Chart for all other returns                               be furnished to either spouse. Only one signature is
unless otherwise noted.                                                                                             required. Sign Form 4506 exactly as your name
                                                          For returns not in                                        appeared on the original return. If you changed your
Future Developments                                       Form 1040 series,                                         name, also sign your current name.
                                                                                        Mail to:
For the latest information about Form 4506 and its        if the address on                                            Corporations. Generally, Form 4506 can be
instructions, go to www.irs.gov/form4506.                 the return was in:                                        signed by: (1) an officer having legal authority to bind
                                                                                                                    the corporation, (2) any person designated by the
General Instructions                                      Connecticut, Delaware,                                    board of directors or other governing body, or (3)
                                                          District of Columbia,                                     any officer or employee on written request by any
Caution: Do not sign this form unless all applicable
                                                          Georgia, Illinois, Indiana,                               principal officer and attested to by the secretary or
lines, including lines 5 through 7, have been
                                                          Kentucky, Maine,                                          other officer. A bona fide shareholder of record
completed.
                                                          Maryland,                                                 owning 1 percent or more of the outstanding stock
Designated Recipient Notification. Internal               Massachusetts,                Internal Revenue Service    of the corporation may submit a Form 4506 but must
Revenue Code, Section 6103(c), limits disclosure          Michigan, New                 RAIVS Team                  provide documentation to support the requester's
and use of return information received pursuant to        Hampshire, New Jersey,        Stop 6705 S-2               right to receive the information.
the taxpayer’s consent and holds the recipient            New York, North               Kansas City, MO               Partnerships. Generally, Form 4506 can be
subject to penalties for any unauthorized access,         Carolina, Ohio,               64999                       signed by any person who was a member of the
other use, or redisclosure without the taxpayer’s         Pennsylvania, Rhode                                       partnership during any part of the tax period
express permission or request.                            Island, South Carolina,                                   requested on line 7.
Taxpayer Notification. Internal Revenue Code,             Tennessee, Vermont,
                                                          Virginia, West Virginia,                                     All others. See section 6103(e) if the taxpayer has
Section 6103(c), limits disclosure and use of return
                                                          Wisconsin                                                 died, is insolvent, is a dissolved corporation, or if a
information provided pursuant to your consent and
                                                                                                                    trustee, guardian, executor, receiver, or
holds the recipient subject to penalties, brought by
                                                                                                                    administrator is acting for the taxpayer.
private right of action, for any unauthorized access,     Alabama, Alaska,
other use, or redisclosure without your express           Arizona, Arkansas,                                        Note: If you are Heir at law, Next of kin, or
permission or request.                                    California, Colorado,                                     Beneficiary you must be able to establish a material
                                                          Florida, Hawaii, Idaho,                                   interest in the estate or trust.
Purpose of form. Use Form 4506 to request a copy
of your tax return. You can also designate (on line 5)    Iowa, Kansas, Louisiana,                                  Documentation. For entities other than individuals,
a third party to receive the tax return.                  Minnesota, Mississippi,                                   you must attach the authorization document. For
                                                          Missouri, Montana,                                        example, this could be the letter from the principal
How long will it take? It may take up to 75               Nebraska, Nevada, New                                     officer authorizing an employee of the corporation or
calendar days for us to process your request.             Mexico, North Dakota,         Internal Revenue Service    the letters testamentary authorizing an individual to
Where to file. Attach payment and mail Form 4506          Oklahoma, Oregon,             RAIVS Team                  act for an estate.
to the address below for the state you lived in, or the   South Dakota, Texas,          P.O. Box 9941
                                                                                                                    Signature by a representative. A representative
state your business was in, when that return was          Utah, Washington,             Mail Stop 6734
                                                                                                                    can sign Form 4506 for a taxpayer only if this
filed. There are two address charts: one for              Wyoming, a foreign            Ogden, UT 84409
                                                                                                                    authority has been specifically delegated to the
individual returns (Form 1040 series) and one for all     country, American
                                                                                                                    representative on Form 2848, line 5a. Form 2848
other returns.                                            Samoa, Puerto Rico,
                                                                                                                    showing the delegation must be attached to Form
   If you are requesting a return for more than one       Guam, the
                                                                                                                    4506.
year or period and the chart below shows two              Commonwealth of the
different addresses, send your request based on the       Northern Mariana
                                                          Islands, the U.S. Virgin                                  Privacy Act and Paperwork Reduction Act
address of your most recent return.                                                                                 Notice. We ask for the information on this form to
                                                          Islands, or A.P.O. or
                                                                                                                    establish your right to gain access to the requested
Chart for individual returns                              F.P.O. address
                                                                                                                    return(s) under the Internal Revenue Code. We need
(Form 1040 series)                                                                                                  this information to properly identify the return(s) and
If you filed an                                           Specific Instructions                                     respond to your request. If you request a copy of a
                                                                                                                    tax return, sections 6103 and 6109 require you to
individual return             Mail to:                    Line 1b. Enter the social security number (SSN) or        provide this information, including your SSN or EIN,
and lived in:                                             individual taxpayer identification number (ITIN) for      to process your request. If you do not provide this
                                                          the individual listed on line 1a, or enter the employer   information, we may not be able to process your
Florida, Louisiana,                                       identification number (EIN) for the business listed on    request. Providing false or fraudulent information
Mississippi, Texas, a                                     line 1a. For example, if you are requesting Form          may subject you to penalties.
foreign country, American                                 1040 that includes Schedule C (Form 1040), enter              Routine uses of this information include giving it to
                              Internal Revenue Service    your SSN.
Samoa, Puerto Rico,                                                                                                 the Department of Justice for civil and criminal
                              RAIVS Team
Guam, the                                                 Line 3. Enter your current address. If you use a P.O.     litigation, and cities, states, the District of Columbia,
                              Stop 6716 AUSC
Commonwealth of the                                       box, please include it on this line 3.                    and U.S. commonwealths and possessions for use
                              Austin, TX 73301
Northern Mariana Islands,                                                                                           in administering their tax laws. We may also
the U.S. Virgin Islands, or                               Line 4. Enter the address shown on the last return
                                                          filed if different from the address entered on line 3.    disclose this information to other countries under a
A.P.O. or F.P.O. address                                                                                            tax treaty, to federal and state agencies to enforce
                                                          Note. If the addresses on lines 3 and 4 are different     federal nontax criminal laws, or to federal law
                                                          and you have not changed your address with the            enforcement and intelligence agencies to combat
Alabama, Arkansas,                                        IRS, file Form 8822, Change of Address, or Form           terrorism.
Delaware, Georgia,                                        8822-B,Change of Address or Responsible Party —
Illinois, Indiana, Iowa,                                  Business, with Form 4506.                                   You are not required to provide the information
Kentucky, Maine,                                                                                                    requested on a form that is subject to the Paperwork
Massachusetts,                Internal Revenue Service    Line 7. Enter the end date of the tax year or period      Reduction Act unless the form displays a valid OMB
Minnesota, Missouri,          RAIVS Team                  requested in mm/dd/yyyy format. This may be a             control number. Books or records relating to a form
New Hampshire, New            Stop 6705 S-2               calendar year, fiscal year or quarter. Enter each         or its instructions must be retained as long as their
Jersey, New York, North       Kansas City, MO 64999       quarter requested for quarterly returns. Example:         contents may become material in the administration
Carolina, Oklahoma,                                       Enter 12/31/2018 for a calendar year 2018 Form            of any Internal Revenue law. Generally, tax returns
South Carolina,                                           1040 return, or 03/31/2017 for a first quarter Form       and return information are confidential, as required
Tennessee, Vermont,                                       941 return.                                               by section 6103.
Virginia, Wisconsin                                       Signature and date. Form 4506 must be signed and            The time needed to complete and file Form 4506
                                                          dated by the taxpayer listed on line 1a or 2a. The        will vary depending on individual circumstances. The
Alaska, Arizona,                                          IRS must receive Form 4506 within 120 days of the         estimated average time is: Learning about the law
California, Colorado,                                     date signed by the taxpayer or it will be rejected.       or the form, 10 min.; Preparing the form, 16 min.;
Connecticut, District of                                  Ensure that all applicable lines, including lines 5       and Copying, assembling, and sending the form
Columbia, Hawaii, Idaho,                                  through 7, are completed before signing.                  to the IRS, 20 min.
Kansas, Maryland,             Internal Revenue Service                                                                If you have comments concerning the accuracy of

                                                          ▲
                                                                      You must check the box in the

                                                          !
Michigan, Montana,            RAIVS Team                                                                            these time estimates or suggestions for making
Nebraska, Nevada, New         P.O. Box 9941                           signature area to acknowledge you
                                                                                                                    Form 4506 simpler, we would be happy to hear from
Mexico, North Dakota,         Mail Stop 6734                          have the authority to sign and request        you. You can write to:
Ohio, Oregon,                 Ogden, UT 84409              CAUTION the information. The form will not be
Pennsylvania, Rhode                                                                                                   Internal Revenue Service
                                                          processed and returned to you if the box is
Island, South Dakota,                                                                                                 Tax Forms and Publications Division
                                                          unchecked.                                                  1111 Constitution Ave. NW, IR-6526
Utah, Washington, West
Virginia, Wyoming                                                                                                     Washington, DC 20224.
                                                                                                                     Do not send the form to this address. Instead, see
                                                                                                                    Where to file on this page.
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                        Exhibit I
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            LIMITED AUTHORIZATION TO DISCLOSE HEALTH INFORMATION
   (Pursuant to the Health Insurance Portability and Accountability Act "HIPAA" of 4/14/03)


   TO: Philips RS North America LLC

   Patient Name:

   DOB:

   SSN:

   I,.                                                           , hereby authorize you to release and
   furnish to: Litigation Management Inc., PO Box 241370, Cleveland, OH 44124 COPIES ONLY
   of the following information:
   *       All medical records, including inpatient, outpatient, and emergency room treatment, all
   clinical charts, reports, documents, correspondence, test results, statements,
   questionnaires/histories, electronic medical data including information from Care Orchestrator
   and/or other databases, office and doctor's handwritten notes, and records received by other
   physicians. Said medical records may include all information regarding AIDS and HIV status.
   *      All reports of autopsy, laboratory, histology, cytology, pathology, radiology, CT Scan,
   MRI, echocardiogram and cardiac catheterization reports.
   *       All radiology films, mammograms, myelograms, CT scans, photographs, bone scans,
   pathology/cytology/histology/autopsy/immunohistochemistry specimens, cardiac catheterization
   videos/CDs/films/reels, and echocardiogram videos.
   *       All pharmacy/prescription records including NDC numbers and drug information
   handouts/monographs.
   *       All billing records including all statements, itemized bills, and insurance records.

1. To my medical provider: this authorization is being forwarded by, or on behalf of, attorneys for
   the defendants and has been approved by the Court supervising this litigation. This authorization
   is for the sole purpose of allowing copies of my medical records to be provided to the defendants
   in this litigation. It does not allow discussions of my medical history, care, treatment, diagnosis,
   prognosis, information revealed by or in the medical records, or any other matter bearing on my
   medical or physical condition.

2. I understand that the information in my health record may include information relating to
   sexually transmitted disease, acquired immunodeficiency syndrome (AIDS), or human
   immunodeficiency virus (HIV). It may also include information about treatment for alcohol
   and drug abuse.

3. I understand that I have the right to revoke this authorization at any time. I understand that if I
   revoke this authorization I must do so in writing and present my written revocation to the health
   information management department. I understand the revocation will not apply to information
   that has already been released in response to this authorization. I understand the revocation will
   not apply to my
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   insurance company when the law provides my insurer with the right to contest a claim under my
   policy. Unless otherwise revoked, this authorization will expire in one year.

4. I understand that authorizing the disclosure of this health information is voluntary. I can refuse to
   sign this authorization. I need not sign his form in order to assure treatment. I understand I may
   inspect or copy the information to be used or disclosed as provided in CFR 164.524.1 understand
   that any disclosure of information carries with it the potential for an unauthorized re-disclosure
   and the information may not be protected by federal confidentiality rules. If 1 have questions
   about disclosure of my health information, I can contact the releaser indicate above.

5. A notarized signature is not required. CFR 164.508. A copy of this authorization may be used in
   place of an original.



   Print Name:                                                           (plaintiff/representative)

   Signature:
                                                                 Date
